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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK



             MICHAEL FAITH,
                                                            DECLARATION OF DANIEL
                                  Plaintiff,                CHINCHILLA IN SUPPORT OF
                                                            DEFENDANTS’ MOTION TO
                            -v-                             COMPEL ARBITRATION AND STAY
                                                            PROCEEDINGS
             DARA KHOSROWSHAHI, UBER
             TECHNOLOGIES, INC., UBER USA, LLC,
                                                            Civil Action No. 2:21-cv-06913-JMA-
             RASIER-NY, LLC, A/K/A RASIER, LLC, A/K/A
                                                            JMW
             RAISER, LLC,

                                  Defendants.
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             I, Daniel Chinchilla, hereby declare and state as follows:

                      1.     I am an adult over the age of 18 and a resident of the state of California. The

             information set forth herein is true and correct of my own personal knowledge (unless otherwise

             stated) and if asked to testify thereto, I would do so competently.

                        2.   I am currently employed at Uber Technologies, Inc. (“Uber”) as Paralegal,

             Employment Legal.

                        3.   As a result of my position with Uber, I have knowledge of Uber’s operations and

             business model. I also have access to Uber’s business records regarding independent transportation

             providers who use Uber’s software applications and the trips they completed, and I have accessed

             those records in the ordinary course of business. I make this declaration in support of Defendants’

             Motion to Compel Arbitration. I am authorized to make these statements on behalf of Uber.

                      4.     Uber, a technology company, develops proprietary software used to create digital

             marketplaces that are operated through multi-sided app-based platforms (“Uber’s Apps”). Through

             the use of proprietary algorithms, Uber’s Apps connect individual consumers in need of goods and

             services with those willing to provide them.

                      5.     One of the Uber marketplaces is the Rides marketplace, which matches individuals

             in need of a ride (“Riders”) with independent transportation providers willing to provide

             transportation services (“Drivers”), who almost always operate locally near their homes. To access

             the Rides marketplace, Riders download Uber’s Rider App onto their smartphones (or other

             device), while Drivers willing to provide transportation services download Uber’s Driver App.

             The software in the apps enables Riders and Drivers to connect based on their location. Using

             Uber’s Rider App, Riders can connect with available, non-federally regulated Drivers nearby who

             offer a variety of transportation options. Uber’s Apps are primarily used to facilitate transportation

             for short-distance trips within one of the over 270 cities across the United States where Uber is
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             available. Using Uber’s Apps, Riders can connect with available transportation providers offering

             a variety of transportation options. Drivers can license Uber’s Driver App by entering a Platform

             Access Agreement (formerly a Software License and Online Services Agreement or a Technology

             Services Agreement) for a service fee. Uber does not pay Drivers to provide transportation to

             Riders; Riders pay Drivers for the transportation services they request.

                      6.    In my current role, I have personal knowledge of the process Drivers must complete

             to sign up to use Uber’s Driver App and the various documents to which they must assent in order

             to use Uber’s Driver App. I also have access to Uber’s business records reflecting the identity of

             Drivers who use Uber’s Driver App and the dates and times that Drivers accept their applicable

             agreements. These records are maintained in the regular course of Uber’s business, are records of

             regularly conducted activity, and are updated automatically as Drivers agree to these documents.

             At the time a Driver agrees to one of these documents through Uber’s Driver App, an electronic

             receipt is generated showing that he or she agreed to the document. The receipt includes a date and

             time stamp establishing when the Driver accepted the agreement.

                      7.    In order to enter into the applicable agreement and gain access to the Rides

             marketplace, a Driver must first download and log into Uber’s Driver App using a unique username

             (the driver’s email address) and password selected by the Driver to create a Driver account. The

             Driver personally selects the unique username and password at the time they sign up to use Uber’s

             Driver App, and the Driver’s account can only be accessed by inputting that unique username and

             password. Also, the Driver can use the reset password feature within Uber’s Driver App. To reset

             the password, the Driver would be required to input the email address associated with their

             account, and a link to reset their password would be sent to the Driver’s email address.




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                      8.    Any Driver who wished to access the Rides marketplace to provide transportation

             services in New York between January 6, 2020 and early January 2022 had to enter into the “Uber

             Platform Access Agreement” with Rasier-NY, LLC, or one of Uber’s affiliated entities (the

             “January 2020 PAA”). A Driver using Uber’s Driver App during this period of time could not have

             accessed Uber’s Driver App without first accepting the January 2020 PAA.

                      9.    When a new Driver logs onto Uber’s Driver App after they have finished activating

             their account, they are given the opportunity to review the applicable agreement(s) by clicking a

             hyperlink presented on the screen within Uber’s Driver App; they can also view the agreement(s)

             from a web browser via computer and are able to print and review it. At the top of this screen,

             Uber’s Driver App states the following: “Please review and agree to the documents below.”

             Clicking the link opens the applicable agreement, which can be reviewed from beginning to end

             on the screen by scrolling through. Drivers are free to spend as much time as they wish reviewing

             the applicable agreement on their smartphone. To advance past the screen that contains the link to

             the document, the Driver has to click “Yes, i agree” to the applicable agreement. After clicking

             “Yes, i agree,” the Driver is prompted to confirm acceptance a second time. On the second screen,

             Uber’s Driver App states the following: “PLEASE CONFIRM THAT YOU HAVE REVIEWED

             ALL THE DOCUMENTS AND AGREE TO ALL THE NEW CONTRACTS.” If a Driver presses

             “No,” rather than “Yes, i agree” on the second screen, the Driver will not be able to proceed any

             further in the process and will be unable to access Uber’s Driver App. Attached hereto as Exhibits

             A and B respectively are examples of the “Yes, i agree” screenshot and the screenshot asking to

             confirm acceptance a second time. Drivers are free to log onto the Driver App and accept the

             applicable agreement without completing any trips.




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                      10.   After clicking “Yes, i agree” a second time, drivers are able to access Uber’s Driver

             App. Drivers can view the agreement, among other ways, online through http://partners.uber.com.

                      11.   I have access to Uber’s records reflecting the dates and times that Drivers accept

             their applicable agreements. These records are maintained in the regular course of Uber’s business,

             are records of regularly conducted activity, and are updated automatically as Drivers agree to these

             documents. At the time a Driver agrees to one of these documents through Uber’s Driver App, an

             electronic receipt is generated showing that he or she agreed to the document. The receipt includes

             a date and time stamp establishing when the Driver accepted the agreement.

                      12.   Based on my review of Uber’s business records, Plaintiff Michael Faith first signed

             up to use Uber’s Driver App on or about June 18, 2017 and entered into the 2017 Rasier

             Technology Services Agreement (the “2017 Services Agreement”) on July 3, 2017. Rasier-NY,

             LLC is a wholly-owned subsidiary of Rasier, LLC, which is itself a wholly-owned subsidiary of

             Uber. A true and correct copy of that agreement is attached hereto as Exhibit C.

                      13.   On November 25, 2019, Mr. Faith signed the updated 2019 Rasier Technology

             Services Agreement (the “2019 Services Agreement”). A true and correct copy of that agreement

             is attached hereto as Exhibit D.

                      14.   On January 7, 2020, Mr. Faith accepted the January 6, 2020 Platform Access

             Agreement (the “January 2020 PAA”) through Uber’s Driver App in order to continue to use the

             Rides marketplace which generates leads. A true and correct copy of the January 2020 PAA

             accepted by Mr. Faith is attached hereto as Exhibit E.

                      15.   A true and correct copy of the electronic receipts received by Uber following Mr.

             Faith’s acceptance of various agreements with Uber, including the January 2020 PAA, maintained

             in the regular course of Uber’s business is attached hereto as Exhibit F. These receipts only could


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             have been generated by someone using Mr. Faith’s unique username and password and hitting

             “Yes, i agree” twice (the same process described above) when prompted by Uber’s Driver App.

             The date and time (UTC) shown on the receipt indicated when Mr. Faith clicked “YES, I AGREE.”

             In Mr. Faith’s case, the date and time for acceptance of the January 2020 PAA was January 7,

             2020 at 19:58 UTC, or 2:58 p.m. Eastern Standard Time (EST).

                      16.   Like all drivers who use Uber’s Driver App, Mr. Faith assented to the January 2020

             PAA by completing the steps on Uber’s Driver App described above.

                      17.   The January 2020 PAA, contains an Arbitration Provision. After accepting the

             PAA, a driver has the opportunity to opt out of the Arbitration Provision if they so desire in the

             manner described by the Arbitration Provision. See Ex. E § 13.8. I have access to Uber’s business

             records reflecting the names of those individuals who have elected to opt out of a particular

             Arbitration Provision. These opt-out records, regardless of whether they are received by mail,

             overnight delivery, hand delivery, email or otherwise, are maintained in an electronic file in the

             regular course of Uber’s business, and are records of Uber’s regularly conducted activity of

             recording those individuals who have opted out of the Arbitration Provision.

                      18.   Based on my review of these records, Uber’s business records reflect that thousands

             of drivers submitted requests to opt out of one or more of the Arbitration Provisions contained in

             the various agreements in place between Uber and those who use Uber’s Driver App. Based on

             my review of these records, Mr. Faith did not opt out of the Arbitration Provision contained in the

             January 2020 PAA.

                      19.   A true and correct copy of Mr. Faith’s trip history for January 7, 2020 is attached

             hereto as Exhibit G. These records are maintained in the regular course of Uber’s business, are

             records of regularly conducted activity, and are updated automatically as Drivers complete trips


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             using Uber’s Driver App. The trip history shows that Mr. Faith accepted and provided seven rides

             on that day, with the first ride beginning at 3:23:28 p.m. EST and the last ride concluding at 7:03:26

             p.m. EST.

                      20.    On December 18, 2019, Mr. Faith sent an email to opt-out@uber.com purporting

             to opt-out of the 2019 Services Agreement. A true and correct copy of the opt-out email is attached

             as Exhibit H. As stated above, based on my review, Mr. Faith did not opt out of the January 2020

             PAA.

                      I declare under the penalty of perjury under the laws of the United States that the foregoing

             is true and correct.

                      Executed at Santa Monica, CA this 30th day of June, 2022.




                                                                   DANIEL CHINCHILLA




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                       EXHIBIT A:
             Agreement Acceptance Screenshot 1
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               f-    Uber                                  -

             TERMS AND CONDITIONS
             Please review and agree to the documents below


             Uber Platform Access Agreement January 6, 2020           >

             Uber Indemnity Agreement January 6, 2020                 >

             NY - Consent to electronic delivery of group insurance
                                                                      >
             policy documents


             Uber Fare Addendum January 6, 2020                       >

             Service Animal Acknowledgement - Feb 10 2017             >

             New York Addendum March 1, 2019                          >




                                   Yes, i agree
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     Exhibit B: Agreement Acceptance Screenshot 2
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               PLEASE CONFIRM THAT YOU
               HAVE REVIEWED ALL THE
               DOCUMENTS AND AGREE TO
               ALL THE NEW CONTRACTS

                                   Yes, i agree


                                        No


              Ubar FaraAddendum Januaryl,2020


              lervlceAnlmal Aclalawledgamant- Feb 10 2017


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             Exhibit C: 2017 Services Agreement
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   RASIER, LLC / RASIER-CA, LLC / RASIER-PA, LLC / RASIER-DC, LLC / RASIER-MT, LLC / HINTER-NM /
   RASIER-NY, LLC
   TECHNOLOGY SERVICES AGREEMENT
   Last update: June 17, 2017


   This Technology Services Agreement (“Agreement”) constitutes a legal agreement between you, an
   individual (“you”) and Rasier-CA, LLC if your Territory (as defined below) is within the State of California,
   Rasier-PA, LLC if your Territory is within the State of Pennsylvania, Rasier-DC, LLC if your Territory is
   within the State of Florida, Rasier-MT, LLC if your Territory is within the State of Montana, Hinter-NM if
   your Territory is within the State of New Mexico, Rasier-NY, LLC if your Territory is within the State of
   New York, or Rasier, LLC if your Territory is anywhere else within the United States (as applicable,
   “Company”).
   Company, a subsidiary of Uber Technologies, Inc. (“Uber”), provides lead generation to independent
   providers of rideshare or peer-to-peer (collectively, “P2P”) passenger transportation services using the
   Uber Services (as defined below). The Uber Services enable an authorized transportation provider to
   seek, receive and fulfill requests for transportation services from an authorized user of Uber’s mobile
   applications. You desire to enter into this Agreement for the purpose of accessing and using the Uber
   Services.
   You acknowledge and agree that Company is a technology services provider that does not provide
   transportation services.
   In order to use the Uber Services, you must agree to the terms and conditions that are set forth below.
   Upon your execution (electronic or otherwise) of this Agreement, you and Company shall be bound by
   the terms and conditions set forth herein.


   IMPORTANT: PLEASE NOTE THAT TO USE THE UBER SERVICES, YOU MUST AGREE
   TO THE TERMS AND CONDITIONS SET FORTH BELOW. PLEASE REVIEW THE
   ARBITRATION PROVISION SET FORTH BELOW CAREFULLY, AS IT WILL REQUIRE
   YOU TO RESOLVE DISPUTES WITH THE COMPANY ON AN INDIVIDUAL BASIS,
   EXCEPT AS PROVIDED IN SECTION 15.3, THROUGH FINAL AND BINDING
   ARBITRATION UNLESS YOU CHOOSE TO OPT OUT OF THE ARBITRATION
   PROVISION. BY VIRTUE OF YOUR ELECTRONIC EXECUTION OF THIS AGREEMENT,
   YOU WILL BE ACKNOWLEDGING THAT YOU HAVE READ AND UNDERSTOOD ALL
   OF THE TERMS OF THIS AGREEMENT (INCLUDING THE ARBITRATION PROVISION)
   AND HAVE TAKEN TIME TO CONSIDER THE CONSEQUENCES OF THIS IMPORTANT
   BUSINESS DECISION. IF YOU DO NOT WISH TO BE SUBJECT TO ARBITRATION,
   YOU MAY OPT OUT OF THE ARBITRATION PROVISION BY FOLLOWING THE
   INSTRUCTIONS PROVIDED IN THE ARBITRATION PROVISION BELOW.
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   1. Definitions
   1.1    “Affiliate” means an entity that, directly or indirectly, controls, is under the control of, or is
          under common control with a party, where control means having more than fifty percent (50%)
          of the voting stock or other ownership interest or the majority of the voting rights of such entity.
   1.2    “City Addendum” means an addendum or supplemental information to this Agreement setting
          forth additional Territory-specific terms, as made available and as updated by Company from
          time to time.
   1.3    “Company Data” means all data related to the access and use of the Uber Services hereunder,
          including all data related to Users (including User Information), all data related to the provision
          of Transportation Services via the Uber Services and the Driver App, and the Driver ID.
   1.4    “Company Device” means a mobile device owned or controlled by Company that is provided to
          you solely for your use of the Driver App to provide Transportation Services.
   1.5    “Device” means a Company Device or Your Device, as the case may be.
   1.6    “Driver App” means the mobile application provided by Company that enables transportation
          providers to access the Uber Services for the purpose of seeking, receiving and fulfilling on-
          demand requests for transportation services by Users, as may be updated or modified from time
          to time.
   1.7    “Driver ID” means the identification and password key assigned by Company to you that enables
          you to use and access the Driver App.
   1.8    “Fare” has the meaning set forth in Section 4.1.
   1.9    “Service Fee” has the meaning set forth in Section 4.4.
   1.10   “Territory” means the city or metro areas in the United States in which you are enabled by the
          Driver App to receive requests for Transportation Services.
   1.11   “Tolls” means any applicable road, bridge, ferry, tunnel and airport charges and fees, including
          inner-city congestion, environmental or similar charges as reasonably determined by the Uber
          Services based on available information.
   1.12   “Transportation Services” means your provision of P2P passenger transportation services to
          Users via the Uber Services in the Territory using the Vehicle.
   1.13   “Uber Services” mean Uber’s on-demand lead generation and related services licensed by Uber
          to Company that enable transportation providers to seek, receive and fulfill on-demand
          requests for transportation services by Users seeking transportation services; such Uber Services
          include access to the Driver App and Uber’s software, websites, payment services as described
          in Section 4 below, and related support services systems, as may be updated or modified from
          time to time.
   1.14   “User” means an end user authorized by Uber to use the Uber mobile application for the
          purpose of obtaining Transportation Services offered by Company’s transportation provider
          customers.
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   1.15   “User Information” means information about a User made available to you in connection with
          such User’s request for and use of Transportation Services, which may include the User’s name,
          pick-up location, contact information and photo.
   1.16   “Vehicle” means your vehicle that: (a) meets the then-current Company requirements for a
          vehicle on the Uber Services; and (b) Company authorizes for your use for the purpose of
          providing Transportation Services.
   1.17   “Your Device” means a mobile device owned or controlled by you: (a) that meets the then-
          current Company specifications for mobile devices as set forth at www.uber.com/byod-devices;
          and (b) on which the Driver App has been installed as authorized by Company solely for the
          purpose of providing Transportation Services.
   2. Use of the Uber Services
   2.1    Driver IDs. Uber will issue you a Driver ID to enable you to access and use the Driver App on a
          Device in accordance with this Agreement. Company reserves the right to deactivate your Driver
          ID if you have not fulfilled a request for Transportation Services using the Driver App at least
          once a month. You agree that you will maintain your Driver ID in confidence and not share
          your Driver ID with any third party. You will immediately notify Company of any actual or
          suspected breach or improper use or disclosure of your Driver ID or the Driver App.
   2.2    Provision of Transportation Services. When the Driver App is active, User requests for
          Transportation Services may appear to you via the Driver App if you are available and in the
          vicinity of the User. If you accept a User’s request for Transportation Services, the Uber Services
          will provide you with certain User Information via the Driver App, including the User’s first name
          and pickup location. In order to enhance User satisfaction with the Uber mobile application and
          your Transportation Services, it is recommended that you wait at least ten (10) minutes for a
          User to show up at the requested pick-up location. You will obtain the destination from the
          User, either in person upon pickup or from the Driver App if the User elects to enter such
          destination via Uber’s mobile application. You acknowledge and agree that once you have
          accepted a User’s request for Transportation Services, Uber’s mobile application may provide
          certain information about you to the User, including your first name, contact information, photo
          and location, and your Vehicle’s make and license plate number. You shall not contact any Users
          or use any User’s personal data for any reason other than for the purposes of fulfilling
          Transportation Services. As between Company and you, you acknowledge and agree that: (a)
          you shall be solely responsible for determining the most effective, efficient and safe manner to
          perform each instance of Transportation Services; and (b) except for the Uber Services or any
          Company Devices (if applicable), you shall provide all necessary equipment, tools and other
          materials, at your own expense, necessary to perform Transportation Services. You understand
          and agree that you have a legal obligation under the Americans with Disabilities Act and similar
          state laws to transport Users with Service Animals (as defined by applicable state and federal
          law), including guide dogs for the blind and visually impaired Users, and there is no exception to
          this obligation for allergies or religious objections. Your knowing failure to transport a User with
          a Service Animal shall constitute a material breach of this Agreement. You agree that a “knowing
          failure” to comply with this legal obligation shall constitute either: (1) a denial of a ride where
          you state the denial was due to a Service Animal; or (2) there is more than one (1) instance in
          which a User or the companion of a User alleges that you cancelled or refused a ride on the
          basis of a Service Animal.
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   2.3   Your Relationship with Users. You acknowledge and agree that your provision of Transportation
         Services to Users creates a direct business relationship between you and the User. Company is
         not responsible or liable for the actions or inactions of a User in relation to you, your activities or
         your Vehicle. You shall have the sole responsibility for any obligations or liabilities to Users or
         third parties that arise from your provision of Transportation Services. You acknowledge and
         agree that you are solely responsible for taking such precautions as may be reasonable and
         proper (including maintaining adequate insurance that meets the requirements of all applicable
         laws including motor vehicle financial responsibility laws) regarding any acts or omissions of a
         User or third party. You acknowledge and agree that Company may release your contact and/or
         insurance information to a User upon such User’s reasonable request. You acknowledge and
         agree that, unless specifically consented to by a User, you may not transport or allow inside your
         Vehicle individuals other than a User and any individuals authorized by such User, during the
         performance of Transportation Services for such User. You acknowledge and agree that all Users
         should be transported directly to their specified destination, as directed by the applicable User,
         without unauthorized interruption or unauthorized stops.
   2.4   Your Relationship with Company. You acknowledge and agree that Company’s provision to you
         of the Driver App and the Uber Services creates a direct business relationship between Company
         and you. Company does not, and shall not be deemed to, direct or control you generally or in
         your performance under this Agreement specifically, including in connection with your provision
         of Transportation Services, your acts or omissions, or your operation and maintenance of your
         Vehicle. You retain the sole right to determine when, where, and for how long you will utilize
         the Driver App or the Uber Services. You retain the option, via the Driver App, to attempt to
         accept or to decline or ignore a User’s request for Transportation Services via the Uber Services,
         or to cancel an accepted request for Transportation Services via the Driver App, subject to
         Company’s then-current cancellation policies. With the exception of any signage required by
         local law or permit/license requirements, Company shall have no right to require you to: (a)
         display Company’s or any of its Affiliates’ names, logos or colors on your Vehicle(s); or (b) wear a
         uniform or any other clothing displaying Company’s or any of its Affiliates’ names, logos or
         colors. You acknowledge and agree that you have complete discretion to provide services or
         otherwise engage in other business or employment activities. For the sake of clarity, you
         understand that you retain the complete right to; (i) use other software application services in
         addition to the Uber Services; and (ii) engage in any other occupation or business. Company
         retains the right to deactivate or otherwise restrict you from accessing or using the Driver App
         or the Uber Services in the event of a violation or alleged violation of this Agreement, your
         disparagement of Company or any of its Affiliates, your act or omission that causes harm to
         Company’s or its Affiliates’ brand, reputation or business as determined by Company in its sole
         discretion.
   2.5   Ratings.
         2.5.1   You acknowledge and agree that: (a) after receiving Transportation Services, a User will
                 be prompted by Uber’s mobile application to provide a rating of you and such
                 Transportation Services and, optionally, to provide comments or feedback about you
                 and such Transportation Services; and (b) after providing Transportation Services, you
                 will be prompted by the Driver App to provide a rating of the User and, optionally, to
                 provide comments or feedback about the User. You shall provide your ratings and
                 feedback in good faith.
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         2.5.2   You acknowledge that Company desires that Users have access to high-quality services
                 via Uber’s mobile application. In order to continue to receive access to the Driver App
                 and the Uber Services, you must maintain an average rating by Users that exceeds the
                 minimum average acceptable rating established by Company for your Territory, as may
                 be updated from time to time by Company in its sole discretion (“Minimum Average
                 Rating”). Your average rating is intended to reflect Users’ satisfaction with your
                 Transportation Services rather than your compliance with any of Company’s policies or
                 recommendations. In the event your average rating falls below the Minimum Average
                 Rating, Company will notify you and may provide you, in Company’s discretion, a limited
                 period of time to raise your average rating above the Minimum Average Rating. If you
                 do not increase your average rating above the Minimum Average Rating within the time
                 period allowed (if any), Company reserves the right to deactivate your access to the
                 Driver App and the Uber Services. Additionally, you acknowledge that your repeated
                 failure to accept User requests for Transportation Services while you are logged in to the
                 Driver App creates a negative experience for Users of Uber’s mobile application. If you
                 do not wish to accept User requests for Transportation Services for a period of time, you
                 agree that you will log off of the Driver App.
         2.5.3   Company and its Affiliates reserve the right to use, share and display your and User
                 ratings and comments in any manner in connection with the business of Company and
                 its Affiliates without attribution to you or your approval. You acknowledge and agree
                 that Company and its Affiliates are distributors (without any obligation to verify) and not
                 publishers of your and User ratings and comments, provided that Company and its
                 Affiliates reserve the right to edit or remove comments in the event that such
                 comments include obscenities or other objectionable content, include an individual’s
                 name or other personal information, or violate any privacy laws, other applicable laws
                 or Company’s or its Affiliates’ content policies.
   2.6   Devices.
         2.6.1   Company encourages you to use Your Device in providing Transportation Services.
                 Otherwise, if you elect to use any Company Devices, Company will supply you upon
                 request with Company Devices and provide the necessary wireless data plan for such
                 Devices, provided that Company will require reimbursement from you for the costs
                 associated with the wireless data plan of each Company Device and/or request a deposit
                 for each Company Device. You agree that: (a) Company Devices may only be used for
                 the purpose of enabling your access to the Uber Services; and (b) Company Devices may
                 not be transferred, loaned, sold or otherwise provided in any manner to any party other
                 than you. Company Devices shall at all times remain the property of Company, and upon
                 termination of this Agreement or your termination or deactivation, you agree to return
                 to Company the applicable Company Devices within ten (10) days. You agree that failure
                 to timely return any Company Devices, or damage to Company Devices outside of
                 “normal wear and tear,” will result in the forfeiture of related deposits.
         2.6.2   If you elect to use Your Devices: (i) you are responsible for the acquisition, cost and
                 maintenance of Your Devices as well as any necessary wireless data plan; and (ii)
                 Company shall make available the Driver App for installation on Your Device. Company
                 hereby grants you a personal, non-exclusive, non-transferable license to install and use
                 the Driver App on Your Device solely for the purpose of providing Transportation
                 Services. You agree to not provide, distribute or share, or enable the provision,
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                  distribution or sharing of, the Driver App (or any data associated therewith) with any
                  third party. The foregoing license grant shall immediately terminate and you will delete
                  and fully remove the Driver App from the Driver-Provided Device in the event that you
                  cease to provide Transportation Services using Your Device. You agree that: (i) use of
                  the Driver App on Your Device requires an active data plan with a wireless carrier
                  associated with Your Device, which data plan will be provided by you at your own
                  expense; and (ii) use of the Driver App on Your Device as an interface with the Uber
                  Services may consume very large amounts of data through the data plan. COMPANY
                  ADVISES THAT YOUR DEVICE ONLY BE USED UNDER A DATA PLAN WITH UNLIMITED
                  OR VERY HIGH DATA USAGE LIMITS, AND COMPANY SHALL NOT BE RESPONSIBLE OR
                  LIABLE FOR ANY FEES, COSTS, OR OVERAGE CHARGES ASSOCIATED WITH ANY DATA
                  PLAN.
   2.7    Location Based Services. You acknowledge and agree that your geo-location information must
          be provided to the Uber Services via a Device in order to provide Transportation Services. You
          acknowledge and agree that: (a) your geo-location information may be obtained by the Uber
          Services while the Driver App is running; and (b) the approximate location of your Vehicle will be
          displayed to the User before and during the provision of Transportation Services to such User. In
          addition, Company and its Affiliates may monitor, track and share with third parties Driver’s
          geo-location information obtained by the Driver App and Device for safety and security
          purposes.
   3. You and Your Vehicle
   3.1    Your Requirements. You acknowledge and agree that at all times, you shall: (a) hold and
          maintain (i) a valid driver's license with the appropriate level of certification to operate your
          Vehicle, and (ii) all licenses, permits, approvals and authority applicable to you that are
          necessary to provide passenger transportation services to third parties in the Territory; (b)
          possess the appropriate and current level of training, expertise and experience to provide
          Transportation Services in a professional manner with due skill, care and diligence; and (c)
          maintain high standards of professionalism, service and courtesy. You acknowledge and agree
          that you may be subject to certain background and driving record checks from time to time in
          order to qualify to provide, and remain eligible to provide, Transportation Services. You
          acknowledge and agree that Company reserves the right, at any time in Company’s sole
          discretion, to deactivate or otherwise restrict you from accessing or using the Driver App or the
          Uber Services if you fail to meet the requirements set forth in this Agreement.
   3.2    Vehicle Requirements. You acknowledge and agree that your Vehicle shall at all times be: (a)
          properly registered and licensed to operate as a passenger transportation vehicle in the
          Territory; (b) owned or leased by you, or otherwise in your lawful possession; (c) suitable for
          performing the passenger transportation services contemplated by this Agreement; and (d)
          maintained in good operating condition, consistent with industry safety and maintenance
          standards for a Vehicle of its kind and any additional standards or requirements in the applicable
          Territory, and in a clean and sanitary condition.
   3.3    Documentation. To ensure your compliance with all requirements in Sections 3.1 and 3.2 above,
          you must provide Company with written copies of all such licenses, permits, approvals,
          authority, registrations and certifications prior to your provision of any Transportation Services.
          Thereafter, you must submit to Company written evidence of all such licenses, permits,
          approvals, authority, registrations and certifications as they are renewed. Company shall, upon
          request, be entitled to review such licenses, permits, approvals, authority, registrations and
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          certifications from time to time, and your failure to provide or maintain any of the foregoing
          shall constitute a material breach of this Agreement. Company reserves the right to
          independently verify your documentation from time to time in any way Company deems
          appropriate in its reasonable discretion.
   4. Financial Terms
   4.1    Fare Calculation and Your Payment. You are entitled to charge a fare for each instance of
          completed Transportation Services provided to a User that are obtained via the Uber Services
          (“Fare”), where such Fare is calculated based upon a base fare amount plus distance (as
          determined by Company using location-based services enabled through the Device) and/or time
          amounts, as detailed at www.uber.com/cities for the applicable Territory (“Fare Calculation”).
          You acknowledge and agree that the Fare provided under the Fare Calculation is the only
          payment you will receive in connection with the provision of Transportation Services, and that
          neither the Fare nor the Fare Calculation includes any gratuity. You are also entitled to charge
          User for any Tolls, taxes or fees incurred during the provision of Transportation Services, if
          applicable. You: (i) appoint Company as your limited payment collection agent solely for the
          purpose of accepting the Fare, applicable Tolls and, depending on the region and/or if requested
          by you, applicable taxes and fees from the User on your behalf via the payment processing
          functionality facilitated by the Uber Services; and (ii) agree that payment made by User to
          Company (or to an Affiliate of Company acting as an agent of Company) shall be considered the
          same as payment made directly by User to you. In addition, the parties acknowledge and agree
          that as between you and Company, the Fare is a recommended amount, and the primary
          purpose of the pre-arranged Fare is to act as the default amount in the event you do not
          negotiate a different amount. You shall always have the right to: (i) charge a fare that is less
          than the pre-arranged Fare; or (ii) negotiate, at your request, a Fare that is lower than the pre-
          arranged Fare (each of (i) and (ii) herein, a “Negotiated Fare”). Company shall consider all such
          requests from you in good faith. Company agrees to remit, or cause to be remitted, to you on at
          least a weekly basis: (a) the Fare less the applicable Service Fee; (b) the Tolls; and (c) depending
          on the region, certain taxes and ancillary fees. If you have separately agreed that other amounts
          may be deducted from the Fare prior to remittance to you (e.g., vehicle financing payments,
          lease payments, mobile device usage charges, etc.), the order of any such deductions from the
          Fare shall be determined exclusively by Company (as between you and Company).
   4.2    Changes to Fare Calculation. Company reserves the right to change the Fare Calculation at any
          time in Company’s discretion based upon local market factors, and Company will provide you
          with notice in the event of changes to the base fare, per mile, and/or per minute amounts that
          would result in a change in the recommended Fare. Continued use of the Uber Services after
          any such change in the Fare Calculation shall constitute your consent to such change.
   4.3    Fare Adjustment. Company reserves the right to: (i) adjust the Fare for a particular instance of
          Transportation Services (e.g., you took an inefficient route, you failed to properly end a
          particular instance of Transportation Services in the Driver App, technical error in the Uber
          Services, etc.); or (ii) cancel the Fare for a particular instance of Transportation Services (e.g.,
          User is charged for Transportation Services that were not provided, in the event of a User
          complaint, fraud, etc.). Company’s decision to reduce or cancel the Fare in any such manner
          shall be exercised in a reasonable manner.
   4.4    Service Fee. In consideration of Company’s provision of the Driver App and the Uber Services for
          your use and benefit hereunder, you agree to pay Company a service fee on a per
          Transportation Services transaction basis calculated as a percentage of the Fare determined by
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         the Fare Calculation (regardless of any Negotiated Fare), as provided to you via email or
         otherwise made available electronically by Company from time to time for the applicable
         Territory (“Service Fee”). In the event regulations applicable to your Territory require taxes to be
         calculated on the Fare, Company shall calculate the Service Fee based on the Fare net of such
         taxes. Company reserves the right to change the Service Fee at any time in Company’s discretion
         based upon local market factors, and Company will provide you with notice in the event of such
         change. Continued use of the Uber Services after any such change in the Service Fee calculation
         shall constitute your consent to such change.
   4.5   Cancellation Charges. You acknowledge and agree that Users may elect to cancel requests for
         Transportation Services that have been accepted by you via the Driver App at any time prior to
         your arrival. In the event that a User cancels an accepted request for Transportation Services,
         Company may charge the User a cancellation fee on your behalf. If charged, this cancellation fee
         shall be deemed the Fare for the cancelled Transportation Services for the purpose of
         remittance to you hereunder (“Cancellation Fee”). The parties acknowledge and agree that as
         between you and Company, this Cancellation Fee is a recommended amount, and the primary
         purpose of such Cancellation Fee is to act as the default amount in the event you do not
         negotiate a different amount. You shall always have the right to: (i) charge a cancellation fee
         that is less than the Cancellation Fee; or (ii) negotiate, at your request, a cancellation fee that is
         lower than the Cancellation Fee (each of (i) and (ii) herein, a “Negotiated Cancellation Fee”). If
         charged, the Cancellation Fee (regardless of any Negotiated Cancellation Fee) shall be deemed
         the Fare for the cancelled Transportation Services for the purpose of remittance to you
         hereunder.
   4.6   Receipts. As part of the Uber Services, Company provides you a system for the delivery of
         receipts to Users for Transportation Services rendered. Upon your completion of Transportation
         Services for a User, Company prepares an applicable receipt and issues such receipt to the User
         via email on your behalf. Such receipts are also provided to you via email or the online portal
         available to you through the Uber Services. Receipts include the breakdown of amounts charged
         to the User for Transportation Services and may include specific information about you,
         including your name, contact information and photo, as well as a map of the route you took.
         Any corrections to a User’s receipt for Transportation Services must be submitted to Company in
         writing within three (3) business days after the completion of such Transportation Services.
         Absent such a notice, Company shall not be liable for any mistakes in or corrections to the
         receipt or for recalculation or disbursement of the Fare.
   4.7   No Additional Amounts. You acknowledge and agree that, for the mutual benefit of the parties,
         through advertising and marketing, Company and its Affiliates may seek to attract new Users to
         Uber and to increase existing Users’ use of Uber’s mobile application. You acknowledge and
         agree such advertising or marketing does not entitle you to any additional monetary amounts
         beyond the amounts expressly set forth in this Agreement.
   4.8   Taxes. You acknowledge and agree that you are required to: (a) complete all tax registration
         obligations and calculate and remit all tax liabilities related to your provision of Transportation
         Services as required by applicable law; and (b) provide Company with all relevant tax
         information. You further acknowledge and agree that you are responsible for taxes on your own
         income arising from the performance of Transportation Services. Notwithstanding anything to
         the contrary in this Agreement, Company may in its reasonable discretion based on applicable
         tax and regulatory considerations, collect and remit taxes resulting from your provision of
         Transportation Services and/or provide any of the relevant tax information you have provided
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          pursuant to the foregoing requirements in this Section 4.8 directly to the applicable
          governmental tax authorities on your behalf or otherwise.
   5. Proprietary Rights; License
   5.1    License Grant. Subject to the terms and conditions of this Agreement, Company hereby grants
          you a non-exclusive, non-transferable, non-sublicensable, non-assignable license, during the
          term of this Agreement, to use the Uber Services (including the Driver App on a Device) solely
          for the purpose of providing Transportation Services to Users and tracking resulting Fares and
          Fees. All rights not expressly granted to you are reserved by Company, its Affiliates and their
          respective licensors.
   5.2    Restrictions. You shall not, and shall not allow any other party to: (a) license, sublicense, sell,
          resell, transfer, assign, distribute or otherwise provide or make available to any other party the
          Uber Services, Driver App or any Company Device in any way; (b) modify or make derivative
          works based upon the Uber Services or Driver App; (c) improperly use the Uber Services or
          Driver App, including creating Internet “links” to any part of the Uber Services or Driver App,
          “framing” or “mirroring” any part of the Uber Services or Driver App on any other websites or
          systems, or “scraping” or otherwise improperly obtaining data from the Uber Services or Driver
          App; (d) reverse engineer, decompile, modify, or disassemble the Uber Services or Driver App,
          except as allowed under applicable law; or (e) send spam or otherwise duplicative or unsolicited
          messages. In addition, you shall not, and shall not allow any other party to, access or use the
          Uber Services or Driver App to: (i) design or develop a competitive or substantially similar
          product or service; (ii) copy or extract any features, functionality, or content thereof; (iii) launch
          or cause to be launched on or in connection with the Uber Services an automated program or
          script, including web spiders, crawlers, robots, indexers, bots, viruses or worms, or any program
          which may make multiple server requests per second, or unduly burden or hinder the operation
          and/or performance of the Uber Services; or (iv) attempt to gain unauthorized access to the
          Uber Services or its related systems or networks.
   5.3    Ownership. The Uber Services, Driver App and Company Data, including all intellectual property
          rights therein, and the Company Devices are and shall remain (as between you and Company)
          the property of Company, its Affiliates or their respective licensors. Neither this Agreement nor
          your use of the Uber Services, Driver App or Company Data conveys or grants to you any rights
          in or related to the Uber Services, Driver App or Company Data, except for the limited license
          granted above. Other than as specifically permitted by the Company in connection with the
          Uber Services, you are not permitted to use or reference in any manner Company’s, its
          Affiliates’, or their respective licensors’ company names, logos, products and service names,
          trademarks, service marks, trade dress, copyrights or other indicia of ownership, alone and in
          combination with other letters, punctuation, words, symbols and/or designs (the "UBER Marks
          and Names") for any commercial purposes. You agree that you will not try to register or
          otherwise use and/or claim ownership in any of the UBER Marks and Names, alone or in
          combination with other letters, punctuation, words, symbols and/or designs, or in any
          confusingly similar mark, name or title, for any goods and services.
   6. Confidentiality
   6.1    Each party acknowledges and agrees that in the performance of this Agreement it may have
          access to or may be exposed to, directly or indirectly, confidential information of the other party
          ("Confidential Information"). Confidential Information includes Company Data, Driver IDs, User
          Information, and the transaction volume, marketing and business plans, business, financial,
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          technical, operational and such other non-public information of each party (whether disclosed
          in writing or verbally) that such party designates as being proprietary or confidential or of which
          the other party should reasonably know that it should be treated as confidential.
   6.2    Each party acknowledges and agrees that: (a) all Confidential Information shall remain the
          exclusive property of the disclosing party; (b) it shall not use Confidential Information of the
          other party for any purpose except in furtherance of this Agreement; (c) it shall not disclose
          Confidential Information of the other party to any third party, except to its employees, officers,
          contractors, agents and service providers ("Permitted Persons") as necessary to perform under
          this Agreement, provided Permitted Persons are bound in writing to obligations of
          confidentiality and non-use of Confidential Information no less protective than the terms
          hereof; and (d) it shall return or destroy all Confidential Information of the disclosing party,
          upon the termination of this Agreement or at the request of the other party (subject to
          applicable law and, with respect to Company, its internal record-keeping requirements).
   6.3    Notwithstanding the foregoing, Confidential Information shall not include any information to
          the extent it: (a) is or becomes part of the public domain through no act or omission on the part
          of the receiving party; (b) was possessed by the receiving party prior to the date of this
          Agreement without an obligation of confidentiality; (c) is disclosed to the receiving party by a
          third party having no obligation of confidentiality with respect thereto; or (d) is required to be
          disclosed pursuant to law, court order, subpoena or governmental authority, provided the
          receiving party notifies the disclosing party thereof and provides the disclosing party a
          reasonable opportunity to contest or limit such required disclosure.
   7. Privacy
   7.1    Disclosure of Your Information. Subject to applicable law, Company and its Affiliates may, but
          shall not be required to, provide to you, a User, an insurance company and/or relevant
          authorities and/or regulatory agencies any information (including personal information (e.g.,
          information obtained about you through any background check) and any Company Data) about
          you or any Transportation Services provided hereunder if: (a) there is a complaint, dispute or
          conflict, including an accident, between you and a User; (b) it is necessary to enforce the terms
          of this Agreement; (c) it is required, in Company’s or any Affiliate’s sole discretion, by applicable
          law or regulatory requirements (e.g., Company or its Affiliates receive a subpoena, warrant, or
          other legal process for information); (d) it is necessary, in Company’s or any Affiliate’s sole
          discretion, to (1) protect the safety, rights, property or security of Company or its Affiliates, the
          Uber Services or any third party; (2) to protect the safety of the public for any reason including
          the facilitation of insurance claims related to the Uber Services; (3) to detect, prevent or
          otherwise address fraud, security or technical issues; (4) to prevent or stop activity which
          Company or any of its Affiliates, in their sole discretion, may consider to be, or to pose a risk of
          being, an illegal, unethical, or legally actionable activity); or (e) it is required or necessary, in
          Company’s or any Affiliate’s sole discretion, for insurance or other purposes related to your
          ability to qualify, or remain qualified, to use the Uber Services. You understand that Company
          may retain your personal data for legal, regulatory, safety and other necessary purposes after
          this Agreement is terminated.
   7.2    Company and its Affiliates may collect your personal data during the course of your application
          for, and use of, the Uber Services, or may obtain information about you from third parties. Such
          information may be stored, processed, transferred, and accessed by Company and its Affiliates,
          third parties, and service providers for business purposes, including for marketing, lead
          generation, service development and improvement, analytics, industry and market research,
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          and such other purposes consistent with Company’s and its Affiliates’ legitimate business needs.
          You expressly consent to such use of personal data.
   8. Insurance
   8.1    You agree to maintain during the term of this Agreement on all Vehicles operated by you under
          this Agreement automobile liability insurance that provides protection against bodily injury and
          property damage to third parties at levels of coverage that satisfy the minimum requirements to
          operate a private passenger vehicle on the public roads within the Territory. This coverage must
          also include any no-fault coverage required by law in the Territory that may not be waived by an
          insured. You agree to provide Company and its Affiliates a copy of the insurance policy, policy
          declarations, proof of insurance identification card and proof of premium payment for the
          insurance policy required in this Section 8.1 upon request. Furthermore, you must provide
          Company with written notice of cancellation of any insurance policy required by Company.
          Company shall have no right to control your selection or maintenance of your policy. You must
          be a named insured or individually rated driver, for which a premium is charged, on the
          insurance policy required in this Section 8.1 at all times.

   8.2    You agree to maintain during the term of this Agreement workers’ compensation insurance as
          required by all applicable laws in the Territory. If permitted by applicable law, you may choose
          to insure yourself against industrial injuries by maintaining occupational accident insurance in
          place of workers’ compensation insurance. Furthermore, if permitted by applicable law, you
          may choose not to insure yourself against industrial injuries at all, but do so at your own risk.

   8.3    You understand and acknowledge that your personal automobile insurance policy may not
          afford liability, comprehensive, collision, medical payments, personal injury protection,
          uninsured motorist, underinsured motorist, or other coverage for the Transportation Services
          you provide pursuant to this Agreement. If you have any questions or concerns about the scope
          or applicability of your own insurance coverage, it is your responsibility, not that of Company, to
          resolve them with your insurer(s).

   8.4    Company may maintain during the term of this Agreement insurance related to your provision
          of Transportation Services as determined by Company in its reasonable discretion or as
          described in a City Addendum, provided that Company and its Affiliates are not required to
          provide you with any specific insurance coverage for any loss to you or your Vehicle. You are
          required to promptly notify Company of any accidents that occur while providing Transportation
          Services and to cooperate and provide all necessary information related thereto.

   9. Representations and Warranties; Disclaimers
   9.1    By You. You hereby represent and warrant that: (a) you have full power and authority to enter
          into this Agreement and perform your obligations hereunder; (b) you have not entered into, and
          during the term will not enter into, any agreement that would prevent you from complying with
          this Agreement; and (c) you will comply with all applicable laws in your performance of this
          Agreement, including holding and complying with all permits, licenses, registrations and other
          governmental authorizations necessary to provide (i) Transportation Services using the Vehicles
          pursuant to this Agreement, and (ii) passenger transportation services to third parties in the
          Territory generally.
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   9.2     Disclaimer of Warranties. COMPANY AND ITS AFFILIATES PROVIDE, AND YOU ACCEPT, THE UBER
           SERVICES, DRIVER APP AND THE COMPANY DEVICES ON AN "AS IS" AND "AS AVAILABLE" BASIS.
           COMPANY AND ITS AFFILIATES DO NOT REPRESENT, WARRANT OR GUARANTEE THAT YOUR
           ACCESS TO OR USE OF THE UBER SERVICES, DRIVER APP OR THE COMPANY DEVICES: (A) WILL BE
           UNINTERRUPTED OR ERROR FREE; OR (B) WILL RESULT IN ANY REQUESTS FOR TRANSPORTATION
           SERVICES. COMPANY AND ITS AFFILIATES FUNCTION AS AN ON-DEMAND LEAD GENERATION AND
           RELATED SERVICE ONLY AND MAKE NO REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO
           THE ACTIONS OR INACTIONS OF THE USERS WHO MAY REQUEST OR RECEIVE TRANSPORTATION
           SERVICES FROM YOU, AND COMPANY AND ITS AFFILIATES DO NOT SCREEN OR OTHERWISE
           EVALUATE USERS. BY USING THE UBER SERVICES AND DRIVER APP, YOU ACKNOWLEDGE AND
           AGREE THAT YOU MAY BE INTRODUCED TO A THIRD PARTY THAT MAY POSE HARM OR RISK TO
           YOU OR OTHER THIRD PARTIES. YOU ARE ADVISED TO TAKE REASONABLE PRECAUTIONS WITH
           RESPECT TO INTERACTIONS WITH THIRD PARTIES ENCOUNTERED IN CONNECTION WITH THE USE
           OF THE UBER SERVICES OR DRIVER APP.NOTWITHSTANDING COMPANY’S APPOINTMENT AS THE
           LIMITED PAYMENT COLLECTION AGENT OF YOU FOR THE PURPOSE OF ACCEPTING PAYMENT
           FROM USERS ON YOUR BEHALF AS SET FORTH IN SECTION 4 ABOVE, COMPANY AND ITS
           AFFILIATES EXPRESSLY DISCLAIM ALL LIABILITY FOR ANY ACT OR OMISSION OF YOU, ANY USER OR
           OTHER THIRD PARTY.
   9.3     No Service Guarantee. COMPANY AND ITS AFFILIATES DO NOT GUARANTEE THE AVAILABILITY
           OR UPTIME OF THE UBER SERVICES OR DRIVER APP. YOU ACKNOWLEDGE AND AGREE THAT THE
           UBER SERVICES OR DRIVER APP MAY BE UNAVAILABLE AT ANY TIME AND FOR ANY REASON (e.g.,
           DUE TO SCHEDULED MAINTENANCE OR NETWORK FAILURE). FURTHER, THE UBER SERVICES OR
           DRIVER APP MAY BE SUBJECT TO LIMITATIONS, DELAYS, AND OTHER PROBLEMS INHERENT IN
           THE USE OF THE INTERNET AND ELECTRONIC COMMUNICATIONS, AND COMPANY AND ITS
           AFFILIATES ARE NOT RESPONSIBLE FOR ANY DELAYS, DELIVERY FAILURES, OR OTHER DAMAGES,
           LIABILITIES OR LOSSES RESULTING FROM SUCH PROBLEMS.
   10. Indemnification. You shall indemnify, defend (at Company’s option) and hold harmless Company
       and its Affiliates and their respective officers, directors, employees, agents, successors and assigns
       from and against any and all liabilities, expenses (including legal fees), damages, penalties, fines,
       social security contributions and taxes arising out of or related to: (a) your breach of your
       representations, warranties or obligations under this Agreement; or (b) a claim by a third party
       (including Users, regulators and governmental authorities) directly or indirectly related to your
       provision of Transportation Services or use of the Uber Services. This indemnification provision shall
       not apply to your breach of any representations regarding your status as an independent contractor.
   11. Limits of Liability. COMPANY AND ITS AFFILIATES SHALL NOT BE LIABLE UNDER OR RELATED TO
       THIS AGREEMENT FOR ANY OF THE FOLLOWING, WHETHER BASED ON CONTRACT, TORT OR ANY
       OTHER LEGAL THEORY, EVEN IF A PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
       DAMAGES: (i) ANY INCIDENTAL, PUNITIVE, SPECIAL, EXEMPLARY, CONSEQUENTIAL, OR OTHER
       INDIRECT DAMAGES OF ANY TYPE OR KIND; OR (ii) YOUR OR ANY THIRD PARTY’S PROPERTY
       DAMAGE, OR LOSS OR INACCURACY OF DATA, OR LOSS OF BUSINESS, REVENUE, PROFITS, USE OR
       OTHER ECONOMIC ADVANTAGE. EXCEPT FOR COMPANY’S OBLIGATIONS TO PAY AMOUNTS DUE TO
       YOU PURSUANT TO SECTION 4 ABOVE, BUT SUBJECT TO ANY LIMITATIONS OR OTHER PROVISIONS
       CONTAINED IN THIS AGREEMENT WHICH ARE APPLICABLE THERETO, IN NO EVENT SHALL THE
       LIABILITY OF COMPANY OR ITS AFFILIATES UNDER THIS AGREEMENT EXCEED THE AMOUNT OF
       SERVICE FEES ACTUALLY PAID TO OR DUE TO COMPANY HEREUNDER IN THE SIX (6) MONTH PERIOD
       IMMEDIATELY PRECEDING THE EVENT GIVING RISE TO SUCH CLAIM.
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   12. Term and Termination
   12.1    Term. This Agreement shall commence on the date accepted by you and shall continue until
           terminated as set forth herein.
   12.2    Termination. Either party may terminate this Agreement: (a) without cause at any time upon
           seven (7) days prior written notice to the other party; (b) immediately, without notice, for the
           other party’s material breach of this Agreement; or (c) immediately, without notice, in the event
           of the insolvency or bankruptcy of the other party, or upon the other party’s filing or submission
           of request for suspension of payment (or similar action or event) against the terminating party.
           In addition, Company may terminate this Agreement or deactivate your Driver ID immediately,
           without notice, with respect to you in the event you no longer qualify, under applicable law or
           the standards and policies of Company and its Affiliates, to provide Transportation Services or to
           operate the Vehicle, or as otherwise set forth in this Agreement.
   12.3    Effect of Termination. Upon termination of the Agreement, you shall: (a) promptly return to
           Company all Company Devices; and (b) immediately delete and fully remove the Driver App
           from any of Your Devices. Outstanding payment obligations and Sections 1, 2.3, 2.5.3, 4.7, 4.8,
           5.3, 6, 7, 9, 10, 11, 12.3, 13, 14 and 15 shall survive the termination of this Agreement.
   13. Relationship of the Parties

   13.1    Except as otherwise expressly provided herein with respect to Company acting as the limited
           payment collection agent solely for the purpose of collecting payment from Users on your
           behalf, the relationship between the parties under this Agreement is solely that of
           independent contracting parties. The parties expressly agree that: (a) this Agreement is not
           an employment agreement, nor does it create an employment relationship, between
           Company and you; and (b) no joint venture, partnership, or agency relationship exists
           between Company and you.

   13.2    You have no authority to bind Company or its Affiliates and you undertake not to hold yourself
           out as an employee, agent or authorized representative of Company or its Affiliates. Where, by
           implication of mandatory law or otherwise, you may be deemed an agent or representative of
           Company, you undertake and agree to indemnify, defend (at Company’s option) and hold
           Company and its Affiliates harmless from and against any claims by any person or entity based
           on such implied agency or representative relationship.

   14. Miscellaneous Terms
   14.1    Modification. In the event Company modifies the terms and conditions of this Agreement at
           any time, such modifications shall be binding on you only upon your acceptance of the modified
           Agreement. Company reserves the right to modify any information referenced at hyperlinks
           from this Agreement from time to time. You hereby acknowledge and agree that, by using the
           Uber Services, or downloading, installing or using the Driver App, you are bound by any future
           amendments and additions to information referenced at hyperlinks herein, or documents
           incorporated herein, including with respect to Fare Calculations. Continued use of the Uber
           Services or Driver App after any such changes shall constitute your consent to such changes.
           Unless changes are made to the arbitration provisions herein, you acknowledge and agree that
           modification of this Agreement does not create a renewed opportunity to opt out of arbitration.
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   14.2   Supplemental Terms. Supplemental terms may apply to your use of the Uber Services, such as
          use policies or terms related to certain features and functionality, which may be modified from
          time to time (“Supplemental Terms”). You may be presented with certain Supplemental Terms
          from time to time. Supplemental Terms are in addition to, and shall be deemed a part of, this
          Agreement. Supplemental Terms shall prevail over this Agreement in the event of a conflict.
   14.3   Severability. If any provision of this Agreement is or becomes invalid or non-binding, the parties
          shall remain bound by all other provisions hereof. In that event, the parties shall replace the
          invalid or non-binding provision with provisions that are valid and binding and that have, to the
          greatest extent possible, a similar effect as the invalid or non-binding provision, given the
          contents and purpose of this Agreement.
   14.4   Assignment. Neither party shall assign or transfer this Agreement or any of its rights or
          obligations hereunder, in whole or in part, without the prior written consent of the other party;
          provided that Company may assign or transfer this Agreement or any or all of its rights or
          obligations under this Agreement from time to time without consent: (a) to an Affiliate; or (b)
          to an acquirer of all or substantially all of Company’s business, equity or assets.
   14.5   Entire Agreement. This Agreement, including all Supplemental Terms, constitutes the entire
          agreement and understanding of the parties with respect to its subject matter and replaces and
          supersedes all prior or contemporaneous agreements or undertakings regarding such subject
          matter. In this Agreement, the words “including” and “include” mean “including, but not limited
          to.” The recitals form a part of this Agreement.
   14.6   No Third Party Beneficiaries. There are no third party beneficiaries to this Agreement, except as
          expressly set forth in the Arbitration Provision in Section 15.3. Nothing contained in this
          Agreement is intended to or shall be interpreted to create any third-party beneficiary claims.
   14.7   Notices. Any notice delivered by Company to you under this Agreement will be delivered by
          email to the email address associated with your account or by posting on the portal available to
          you on the Uber Services. Any notice delivered by you to Company under this Agreement will be
          delivered by contacting Company at http://partners.uber.com in the “Contact Us” section.
          Additional Territory-specific notices may be required from time to time.
   15. Governing Law; Arbitration
   15.1   The choice of law provisions contained in this Section 15.1 do not apply to the arbitration clause
          contained in Section 15.3, such arbitration clause being governed by the Federal Arbitration Act.
          Accordingly, and except as otherwise stated in Section 15.3, the interpretation of this
          Agreement shall be governed by California law, without regard to the choice or conflicts of law
          provisions of any jurisdiction. Any disputes, actions, claims or causes of action arising out of or
          in connection with this Agreement or the Uber Services that are not subject to the arbitration
          clause contained in Section 15.3 shall be subject to the exclusive jurisdiction of the state and
          federal courts located in the City and County of San Francisco, California. However, neither the
          choice of law provision regarding the interpretation of this Agreement nor the forum selection
          provision is intended to create any other substantive right to non-Californians to assert claims
          under California law whether that be by statute, common law, or otherwise. These provisions,
          and except as otherwise provided in Section 15.3, are only intended to specify the use of
          California law to interpret this Agreement and the forum for disputes asserting a breach of this
          Agreement, and these provisions shall not be interpreted as generally extending California law
          to you if you do not otherwise reside or provide services in California. The foregoing choice of
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          law and forum selection provisions do not apply to the arbitration clause in Section 15.3 or to
          any arbitrable disputes as defined therein. Instead, as described in Section 15.3, the Federal
          Arbitration Act shall apply to any such disputes. The failure of Company to enforce any right or
          provision in this Agreement shall not constitute a waiver of such right or provision unless
          acknowledged and agreed to by Uber in writing.

   15.2   Other than disputes regarding the intellectual property rights of the parties and other claims
          identified in Section 15.3.ii, any disputes, actions, claims or causes of action arising out of or in
          connection with this Agreement or the Uber Services shall be subject to arbitration pursuant to
          Section 15.3.


   15.3   Arbitration Provision

          Important Note Regarding this Arbitration Provision:

              ●   Except as provided below, arbitration does not limit or affect the legal claims you may
                  bring against the Company. Agreeing to arbitration only affects where any such claims
                  may be brought and how they will be resolved.

              ●   Arbitration is a process of private dispute resolution that does not involve the civil
                  courts, a civil judge, or a jury. Instead, the parties’ dispute is decided by a private
                  arbitrator selected by the parties using the process set forth herein. Other arbitration
                  rules and procedures are also set forth herein.

              ●   Unless the law requires otherwise, as determined by the Arbitrator based upon the
                  circumstances presented, you will be required to split the cost of any arbitration with
                  the Company.

              ● IMPORTANT: This Arbitration Provision will require you to resolve
                any claim that you may have against the Company or Uber on an
                individual basis, except as provided below, pursuant to the terms of
                the Agreement unless you choose to opt out of the Arbitration
                Provision. Except as provided below, this provision will preclude you
                from bringing any class, collective, or representative action (other
                than actions under the Private Attorneys General Act of 2004
                (“PAGA”), California Labor Code § 2698 et seq. (“PAGA”)) against the
                Company or Uber, and also precludes you from participating in or
                recovering relief under any current or future class, collective, or
                representative (non-PAGA) action brought against the Company or
                Uber by someone else.

                      o Cases have been filed against Company or Uber and may be
                        filed in the future involving claims by users of the Service,
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                     including by drivers. You should assume that there are now,
                     and may be in the future, lawsuits against the Company or
                     Uber alleging class, collective, and/or representative (non-
                     PAGA) claims on your behalf, including but not limited to
                     claims for tips, reimbursement of expenses, and employment
                     status. Such claims, if successful, could result in some
                     monetary recovery to you. (THESE CASES NOW INCLUDE, FOR
                     EXAMPLE, YUCESOY ET AL. V. UBER TECHNOLOGIES, INC., ET
                     AL., CASE NO. 3:15-CV-00262(NORTHERN DISTRICT OF
                     CALIFORNIA); IN RE UBER FCRA LITIGATION, CASE NO. 14-CV-
                     05200-EMC (NORTHERN DISTRICT OF CALIFORNIA); AND
                     O’CONNOR V. UBER TECHNOLOGIES, INC., ET AL., CASE NO.
                     CV 13-03826-EMC (NORTHERN DISTRICT OF CALIFORNIA).The
                     contact information for plaintiffs’ counsel in the O’Connor
                     matter is as follows: Shannon Liss-Riordan, Lichten & Liss-
                     Riordan, P.C., 100 Cambridge Street, 20th Floor, Boston, MA
                     02114, Telephone: (617) 994-5800, Fax: (617) 994-5801,
                     email: sliss@llrlaw.com.)

                  o The mere existence of such class, collective, and/or
                    representative lawsuits, however, does not mean that such
                    lawsuits will ultimately succeed. But if you do agree to
                    arbitration with the Company, you are agreeing in advance,
                    except as otherwise provided, that you will not participate in
                    and, therefore, will not seek to recover monetary or other
                    relief under any such class, collective, and/or representative
                    (non-PAGA) lawsuit, except as provided below.

                  o However, as discussed above and except as provided below,
                    if you agree to arbitration, you will not be precluded from
                    bringing your claims against the Company or Uber in an
                    individual arbitration proceeding. If successful on such claims,
                    you could be awarded money or other relief by an arbitrator
                    (subject to splitting the cost of arbitration as mentioned
                    above).

   WHETHER TO AGREE TO ARBITRATION IS AN IMPORTANT BUSINESS DECISION.
   IT IS YOUR DECISION TO MAKE, AND YOU SHOULD NOT RELY SOLELY UPON THE
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   INFORMATION PROVIDED IN THIS AGREEMENT AS IT IS NOT INTENDED TO
   CONTAIN A COMPLETE EXPLANATION OF THE CONSEQUENCES OF
   ARBITRATION. YOU SHOULD TAKE REASONABLE STEPS TO CONDUCT FURTHER
   RESEARCH AND TO CONSULT WITH OTHERS — INCLUDING BUT NOT LIMITED TO
   AN ATTORNEY — REGARDING THE CONSEQUENCES OF YOUR DECISION, JUST AS
   YOU WOULD WHEN MAKING ANY OTHER IMPORTANT BUSINESS OR LIFE
   DECISION.
           i.      How This Arbitration Provision Applies.

   This Arbitration Provision is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (the “FAA”) and
   evidences a transaction involving interstate commerce. This Arbitration Provision applies to any dispute
   arising out of or related to this Agreement or termination of the Agreement and survives after the
   Agreement terminates. Nothing contained in this Arbitration Provision shall be construed to prevent or
   excuse you from utilizing any informal procedure for resolution of complaints established in this
   Agreement (if any), and this Arbitration Provision is not intended to be a substitute for the utilization of
   such procedures.
   Except as it otherwise provides, this Arbitration Provision is intended to apply to the resolution of
   disputes that otherwise would be resolved in a court of law or before any forum other than
   arbitration, with the exception of proceedings that must be exhausted under applicable law before
   pursuing a claim in a court of law or in any forum other than arbitration. Except as it otherwise
   provides, this Arbitration Provision requires all such disputes to be resolved only by an arbitrator
   through final and binding arbitration on an individual basis only and not by way of court or jury trial,
   or by way of class, collective, or representative action.
   Except as provided in Section 15.3(v), below, regarding the Class Action Waiver, such disputes include
   without limitation disputes arising out of or relating to interpretation or application of this Arbitration
   Provision, including the enforceability, revocability or validity of the Arbitration Provision or any portion
   of the Arbitration Provision. All such matters shall be decided by an Arbitrator and not by a court or
   judge. However, as set forth below, the preceding sentences shall not apply to disputes relating to the
   interpretation or application of the Class Action Waiver or PAGA Waiver below, including their
   enforceability, revocability or validity.
   Except as it otherwise provides, this Arbitration Provision also applies, without limitation, to all disputes
   between You and the Company or Uber, as well as all disputes between You and the Company’s or
   Uber’s fiduciaries, administrators, affiliates, subsidiaries, parents, and all successors and assigns of any
   of them, including but not limited to any disputes arising out of or related to this Agreement and
   disputes arising out of or related to your relationship with the Company, including termination of the
   relationship. This Arbitration Provision also applies, without limitation, to disputes regarding any city,
   county, state or federal wage-hour law, trade secrets, unfair competition, compensation, breaks and
   rest periods, expense reimbursement, termination, harassment and claims arising under the Uniform
   Trade Secrets Act, Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in
   Employment Act, Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income
   Security Act (except for individual claims for employee benefits under any benefit plan sponsored by the
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   Company and covered by the Employee Retirement Income Security Act of 1974 or funded by
   insurance), Genetic Information Non-Discrimination Act, and state statutes, if any, addressing the same
   or similar subject matters, and all other similar federal and state statutory and common law claims.
   This Agreement is intended to require arbitration of every claim or dispute that lawfully can be
   arbitrated, except for those claims and disputes which by the terms of this Agreement are expressly
   excluded from the Arbitration Provision.
   Uber Technologies, Inc. is an intended, third party beneficiary of this Agreement.
             ii.   Limitations On How This Agreement Applies.

   The disputes and claims set forth below shall not be subject to arbitration and the requirement to
   arbitrate set forth in this Arbitration Provision shall not apply:
   A representative action brought on behalf of others under the Private Attorneys General Act of 2004
   (“PAGA”), California Labor Code § 2698 et seq., to the extent waiver of such a claim is deemed
   unenforceable by a court of competent jurisdiction;
   Claims for workers compensation, state disability insurance and unemployment insurance benefits;
   Regardless of any other terms of this Agreement, nothing prevents you from making a report to or filing
   a claim or charge with the Equal Employment Opportunity Commission, U.S. Department of Labor,
   Securities Exchange Commission, National Labor Relations Board, or Office of Federal Contract
   Compliance Programs, and nothing in this Agreement or Arbitration Provision prevents the investigation
   by a government agency of any report, claim or charge otherwise covered by this Arbitration Provision.
   Nothing in this Arbitration Provision shall be deemed to preclude or excuse a party from bringing an
   administrative claim before any agency in order to fulfill the party's obligation to exhaust administrative
   remedies before making a claim in arbitration;
   Disputes that may not be subject to a predispute arbitration agreement pursuant to applicable Federal
   law or Executive Order are excluded from the coverage of this Arbitration Provision;
   Disputes regarding your, the Company’s, or Uber’s intellectual property rights;
   This Arbitration Provision shall not be construed to require the arbitration of any claims against a
   contractor that may not be the subject of a mandatory arbitration agreement as provided by section
   8116 of the Department of Defense ("DoD") Appropriations Act for Fiscal Year 2010 (Pub. L. 111-118),
   section 8102 of the Department of Defense ("DoD") Appropriations Act for Fiscal Year 2011 (Pub. L. 112-
   10, Division A), and their implementing regulations, or any successor DoD appropriations act addressing
   the arbitrability of claims.
            iii.   Selecting The Arbitrator and Location of the Arbitration.

   The Arbitrator shall be selected by mutual agreement of the Company and you. Unless you and the
   Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice in the
   location where the arbitration proceeding will be conducted or a retired federal or state judicial officer
   who presided in the jurisdiction where the arbitration will be conducted. If the Parties cannot agree on
   an Arbitrator, then an arbitrator will be selected using the alternate strike method from a list of five (5)
   neutral arbitrators provided by JAMS (Judicial Arbitration & Mediation Services). You will have the
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   option of making the first strike. If a JAMS arbitrator is used, then the JAMS Streamlined Arbitration
   Rules & Procedures rules will apply; however, if there is a conflict between the JAMS Rules and this
   Agreement, this Agreement shall govern. Those rules are available here:
   http://www.jamsadr.com/rules-streamlined-arbitration/
   The location of the arbitration proceeding shall be no more than 45 miles from the place where you last
   provided transportation services under this Agreement, unless each party to the arbitration agrees in
   writing otherwise.

             iv.   Starting The Arbitration.

   All claims in arbitration are subject to the same statutes of limitation that would apply in court. The
   party bringing the claim must demand arbitration in writing and deliver the written demand by hand or
   first class mail to the other party within the applicable statute of limitations period. The demand for
   arbitration shall include identification of the Parties, a statement of the legal and factual basis of the
   claim(s), and a specification of the remedy sought. Any demand for arbitration made to the Company or
   Uber shall be provided to Legal, Rasier, LLC, 1455 Market St., Ste. 400, San Francisco CA 94103. The
   arbitrator shall resolve all disputes regarding the timeliness or propriety of the demand for arbitration.
   A party may apply to a court of competent jurisdiction for temporary or preliminary injunctive relief in
   connection with an arbitrable controversy, but only upon the ground that the award to which that party
   may be entitled may be rendered ineffectual without such provisional relief.
             v.    How Arbitration Proceedings Are Conducted.

   In arbitration, the Parties will have the right to conduct adequate civil discovery, bring dispositive
   motions, and present witnesses and evidence as needed to present their cases and defenses, and any
   disputes in this regard shall be resolved by the Arbitrator.
   You and the Company agree to resolve any dispute that is in arbitration on an individual basis only,
   and not on a class, collective action, or representative basis (“Class Action Waiver”). The Arbitrator
   shall have no authority to consider or resolve any claim or issue any relief on any basis other than an
   individual basis. The Arbitrator shall have no authority to consider or resolve any claim or issue any
   relief on a class, collective, or representative basis. Notwithstanding any other provision of this
   Agreement, the Arbitration Provision or the JAMS Streamlined Arbitration Rules & Procedures, disputes
   regarding the enforceability, revocability or validity of the Class Action Waiver may be resolved only by a
   civil court of competent jurisdiction and not by an arbitrator. In any case in which (1) the dispute is filed
   as a class, collective, or representative action and (2) there is a final judicial determination that all or
   part of the Class Action Waiver unenforceable, the class, collective, and/or representative action to that
   extent must be litigated in a civil court of competent jurisdiction, but the portion of the Class Action
   Waiver that is enforceable shall be enforced in arbitration.
   While the Company will not take any retaliatory action in response to any exercise of rights you may
   have under Section 7 of the National Labor Relations Act, if any, the Company shall not be precluded
   from moving to enforce its rights under the FAA to compel arbitration on the terms and conditions set
   forth in this Agreement.
   Private Attorneys General Act.
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   Notwithstanding any other provision of this Agreement or the Arbitration Provision, to the extent
   permitted by law, (1) You and Company agree not to bring a representative action on behalf of others
   under the Private Attorneys General Act of 2004 (“PAGA”), California Labor Code § 2698 et seq., in any
   court or in arbitration, and (2) for any claim brought on a private attorney general basis—i.e., where
   you are seeking to pursue a claim on behalf of a government entity—both you and Company agree that
   any such dispute shall be resolved in arbitration on an individual basis only (i.e., to resolve whether you
   have personally been aggrieved or subject to any violations of law), and that such an action may not be
   used to resolve the claims or rights of other individuals in a single or collective proceeding (i.e., to
   resolve whether other individuals have been aggrieved or subject to any violations of law) (“PAGA
   Waiver”). Notwithstanding any other provision of this Agreement or the Arbitration Provision, the
   validity of the PAGA Waiver may be resolved only by a civil court of competent jurisdiction and not by an
   arbitrator. If any provision of the PAGA Waiver is found to be unenforceable or unlawful for any reason,
   (1) the unenforceable provision shall be severed from this Agreement; (2) severance of the
   unenforceable provision shall have no impact whatsoever on the Arbitration Provision or the Parties’
   attempt to arbitrate any remaining claims on an individual basis pursuant to the Arbitration Provision;
   and (3) any representative action brought under PAGA on behalf of others must be litigated in a civil
   court of competent jurisdiction and not in arbitration. To the extent that there are any claims to be
   litigated in a civil court of competent jurisdiction because a civil court of competent jurisdiction
   determines that the PAGA Waiver is unenforceable with respect to those claims, the Parties agree that
   litigation of those claims shall be stayed pending the outcome of any individual claims in arbitration.

            vi.    Paying For The Arbitration.

   Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
   may later be entitled under applicable law (i.e., a party prevails on a claim that provides for the award of
   reasonable attorney fees to the prevailing party). In all cases where required by law, the Company will
   pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all
   of the Arbitrator’s and/or arbitration fees, such fee(s) will be apportioned equally between the Parties
   or as otherwise required by applicable law. However, you will not be required to bear any type of fee or
   expense that you would not be required to bear if you had filed the action in a court of law. Any
   disputes in that regard will be resolved by the Arbitrator as soon as practicable after the Arbitrator is
   selected, and Company shall bear all of the Arbitrator’s and arbitration fees until such time as the
   Arbitrator resolves any such dispute.
            vii.   The Arbitration Hearing And Award.

   The Parties will arbitrate their dispute before the Arbitrator, who shall confer with the Parties regarding
   the conduct of the hearing and resolve any disputes the Parties may have in that regard. Within 30 days
   of the close of the arbitration hearing, or within a longer period of time as agreed to by the Parties or as
   ordered by the Arbitrator, any party will have the right to prepare, serve on the other party and file with
   the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party is entitled
   under applicable law, but such remedies shall be limited to those that would be available to a party in
   his or her individual capacity in a court of law for the claims presented to and decided by the Arbitrator,
   and no remedies that otherwise would be available to an individual in a court of law will be forfeited by
   virtue of this Arbitration Provision. The Arbitrator will issue a decision or award in writing, stating the
   essential findings of fact and conclusions of law. A court of competent jurisdiction shall have the
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   authority to enter a judgment upon the award made pursuant to the arbitration. The Arbitrator shall
   not have the power to commit errors of law or legal reasoning, and the award may be vacated or
   corrected on appeal to a court of competent jurisdiction for any such error.
           viii.   Your Right To Opt Out Of Arbitration.

   Arbitration is not a mandatory condition of your contractual relationship with the Company. If you do
   not want to be subject to this Arbitration Provision, you may opt out of this Arbitration Provision by
   notifying the Company in writing of your desire to opt out of this Arbitration Provision, either by (1)
   sending, within 30 days of the date this Agreement is executed by you, electronic mail to
   optout@uber.com, stating your name and intent to opt out of the Arbitration Provision or (2) by
   sending a letter by U.S. Mail, or by any nationally recognized delivery service (e.g, UPS, Federal
   Express, etc.), or by hand delivery to:
           Legal
           Rasier, LLC
           1455 Market St., Ste. 400
           San Francisco CA 94103

   In order to be effective, the letter under option (2) must clearly indicate your intent to opt out of this
   Arbitration Provision, and must be dated and signed. The envelope containing the signed letter must
   be received (if delivered by hand) or post-marked within 30 days of the date this Agreement is
   executed by you. Your writing opting out of this Arbitration Provision, whether sent by (1) or (2), will
   be filed with a copy of this Agreement and maintained by the Company. Should you not opt out of
   this Arbitration Provision within the 30-day period, you and the Company shall be bound by the terms
   of this Arbitration Provision. You have the right to consult with counsel of your choice concerning this
   Arbitration Provision. You understand that you will not be subject to retaliation if you exercise your
   right to assert claims or opt-out of coverage under this Arbitration Provision.
    ix.    Full and Complete Agreement Related to Formal Resolution of Disputes; Enforcement Of
           This Agreement.

   This Arbitration Provision is the full and complete agreement relating to the formal resolution of
   disputes arising out of this Agreement. Except as stated in subsection v, above, in the event any portion
   of this Arbitration Provision is deemed unenforceable, the remainder of this Arbitration Provision will be
   enforceable.


   By clicking “I accept”, you expressly acknowledge that you have read, understood, and taken steps to
   thoughtfully consider the consequences of this Agreement, that you agree to be bound by the terms and
   conditions of the Agreement, and that you are legally competent to enter into this Agreement with
   Company.
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             Exhibit D: 2019 Services Agreement
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    UBER TECHNOLOGIES, INC. / RASIER, LLC / RASIER-PA, LLC / RASIER-DC, LLC
    / RASIER-MT, LLC / RASIER-NY, LLC
    TECHNOLOGY SERVICES AGREEMENT
    Last update: November 25, 2019

    This Technology Services Agreement (“Agreement”) constitutes a legal agreement
    between you, an individual (“you”) and Uber Technologies, Inc. (“Uber”) if your
    Territory (as defined below) is within the State of California, Rasier-PA, LLC if your
    Territory is within the State of Pennsylvania, Rasier-DC, LLC if your Territory is within
    the State of Florida, Rasier-MT, LLC if your Territory is within the State of Montana,
    Hinter-NM if your Territory is within the State of New Mexico, Rasier-NY, LLC if your
    Territory is within the State of New York, or Rasier, LLC if your Territory is anywhere
    else within the United States (each as applicable, “Company”) and solely with respect
    to Section 14 of this Agreement, Rasier-CA, LLC, if your Territory is California and
    Hinter-NM if your Territory is New Mexico.
    Company provides lead generation to independent providers of rideshare or peer-to-peer
    (collectively, “P2P”) passenger transportation services using the Uber Services (as
    defined below). The Uber Services enable an authorized transportation provider to seek,
    receive and fulfill requests for transportation services from an authorized user of Uber’s
    mobile applications. You desire to enter into this Agreement for the purpose of accessing
    and using the Uber Services.
    You acknowledge and agree that Company is a technology services provider that
    does not provide transportation services.
    In order to use the Uber Services, you must agree to the terms and conditions that are
    set forth below. Upon your execution (electronic or otherwise) of this Agreement, you
    and Company shall be bound by the terms and conditions set forth herein.

    The following sentence only applies if, immediately prior to accepting this
    Agreement, you are a party to an effective technology services agreement with
    the Company, Rasier-CA, LLC or Hinter-NM. Notwithstanding the execution of
    this Agreement, and the termination of your prior technology services
    agreement, any previously agreed and currently effective supplemental terms,
    including the Pricing Addendum (defined below) last updated on June 17, 2017,
    will continue in full force and effect as described in this Agreement.
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    1. Definitions

    1.1    “2017 Agreement” means the Technology Services Agreement, last updated
           June 17, 2017, by and among you and Rasier-CA, LLC if your Territory is
           within the State of California, Rasier-PA, LLC if your Territory is within the State
           of Pennsylvania, Rasier-DC, LLC if your Territory is within the State of Florida,
           Rasier-MT, LLC if your Territory is within the State of Montana, Hinter-NM if
           your Territory is within the State of New Mexico, Rasier-NY, LLC if your
           Territory is within the State of New York, or Rasier, LLC.
    1.2    “2017 Termination” has the meaning set forth in Section 14.1.
    1.3    “Affiliate” means an entity that, directly or indirectly, controls, is under the
           control of, or is under common control with a party, where control means having
           more than fifty percent (50%) of the voting stock or other ownership interest or
           the majority of the voting rights of such entity.
    1.4    “City Addendum” means an addendum or supplemental information to this
           Agreement setting forth additional Territory-specific terms, as made available
           and as updated by Company from time to time.
    1.5    “Class Action Waiver” has the meaning set forth in Section 15.2.
    1.6    “Company Data” means all data related to the access and use of the Uber
           Services hereunder, including all data related to Users (including User
           Information), all data related to the provision of Transportation Services via the
           Uber Services and the Driver App, and the Driver ID.
    1.7    “Company Device” means a mobile device owned or controlled by Company
           that is provided to you solely for your use of the Driver App to provide
           Transportation Services.
    1.8    “Device” means a Company Device or Your Device, as the case may be.
    1.9    “Driver App” means the mobile application provided by Company that enables
           transportation providers to access the Uber Services for the purpose of
           seeking, receiving and fulfilling on- demand requests for transportation services
           by Users, as may be updated or modified from time to time.
    1.10   “Driver ID” means the identification and password key assigned by Company to
           you that enables you to use and access the Driver App.
    1.11   “Effective Time” means the date and time on which this Agreement is accepted
           by You.
    1.12   “Existing City Addendum” means any City Addendum (as defined in the 2017
           Agreement) effective as of immediately prior to the Effective Time including,
           without limitation the Pricing Addendum.
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    1.13   “Existing Supplemental Terms” means any Supplemental Terms (as defined in
           Section 14.2 of the 2017 Agreement) effective as of immediately prior to the
           Effective Time.
    1.14   “Fare” has the meaning set forth in Section 4.1.
    1.15   “JAMS Rules” has the meaning set forth in Section 15.2.
    1.16   “Pricing Addendum” means that certain Addendum, last updated as of June 17,
           2017, by and between you and the applicable Uber Subsidiary.
    1.17   “Representative Action Waiver” has the meaning set forth in Section 15.2.
    1.18   “Service Fee” has the meaning set forth in Section 4.4.
    1.19   “Territory” means the city or metro areas in the United States in which you are
           enabled by the Driver App to receive requests for Transportation Services.
    1.20   “Tolls” means any applicable road, bridge, ferry, tunnel and airport charges and
           fees, including inner-city congestion, environmental or similar charges as
           reasonably determined by the Uber Services based on available information.
    1.21   “Transportation Services” means your provision of P2P passenger
           transportation services to Users via the Uber Services in the Territory using
           the Vehicle.
    1.22   “Uber Services” mean Uber’s on-demand lead generation and related services
           licensed by Uber that enable transportation providers to seek, receive and fulfill
           on-demand requests for transportation services by Users seeking transportation
           services; such Uber Services include access to the Driver App and Uber’s
           software, websites, payment services as described in Section 4 below, and
           related support services systems, as may be updated or modified from time to
           time.
    1.23   “Uber Subsidiary” means each of Rasier-CA, LLC, Rasier-PA, LLC, Rasier-DC,
           LLC, Rasier-MT, LLC, Hinter-NM, Rasier-NY, LLC and Rasier, LLC.
    1.24   “User” means an end user authorized by Uber to use the Uber mobile
           application for the purpose of obtaining Transportation Services offered by
           Company’s transportation provider customers.
    1.25   “User Information” means information about a User made available to you in
           connection with such User’s request for and use of Transportation Services,
           which may include the User’s name, pick-up location, contact information and
           photo.
    1.26   “Vehicle” means your vehicle that: (a) meets the then-current Company
           requirements for a vehicle on the Uber Services; and (b) Company
           authorizes for your use for the purpose of providing Transportation Services.
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    1.27   “Your Device” means a mobile device owned or controlled by you: (a) that
           meets the then- current Company specifications for mobile devices as set forth
           at www.uber.com/byod-devices; and (b) on which the Driver App has been
           installed as authorized by Company solely for the purpose of providing
           Transportation Services.
    2. Use of the Uber Services

    2.1    Driver IDs. Uber will issue you a Driver ID to enable you to access and use the
           Driver App on a Device in accordance with this Agreement. Company reserves
           the right to deactivate your Driver ID if you have not fulfilled a request for
           Transportation Services using the Driver App at least once a month. You agree
           that you will maintain your Driver ID in confidence and not share your Driver
           ID with any third party. You will immediately notify Company of any actual or
           suspected breach or improper use or disclosure of your Driver ID or the
           Driver App.
    2.2    Provision of Transportation Services. When the Driver App is active, User
           requests for Transportation Services may appear to you via the Driver App if
           you are available and in the vicinity of the User. If you accept a User’s request for
           Transportation Services, the Uber Services will provide you with certain User
           Information via the Driver App, including the User’s first name and pickup
           location. In order to enhance User satisfaction with the Uber mobile application
           and your Transportation Services, it is recommended that you wait at least ten
           (10) minutes for a User to show up at the requested pick-up location. You will
           obtain the destination from the User, either in person upon pickup or from the
           Driver App if the User elects to enter such destination via Uber’s mobile
           application. You acknowledge and agree that once you have accepted a User’s
           request for Transportation Services, Uber’s mobile application may provide
           certain information about you to the User, including your first name, contact
           information, photo and location, and your Vehicle’s make and license plate
           number. You shall not contact any Users or use any User’s personal data for any
           reason other than for the purposes of fulfilling Transportation Services. As
           between Company and you, you acknowledge and agree that: (a) you shall be
           solely responsible for determining the most effective, efficient and safe manner
           to perform each instance of Transportation Services; and (b) except for the Uber
           Services or any Company Devices (if applicable), you shall provide all
           necessary equipment, tools and other materials, at your own expense,
           necessary to perform Transportation Services. You understand and agree that
           you have a legal obligation under the Americans with Disabilities Act and similar
           state laws to transport Users with Service Animals (as defined by applicable state
           and federal law), including guide dogs for the blind and visually impaired Users,
           and there is no exception to this obligation for allergies or religious objections.
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          Your knowing failure to transport a User with a Service Animal shall constitute a
          material breach of this Agreement. You agree that a “knowing failure” to comply
          with this legal obligation shall constitute either: (1) a denial of a ride where you
          state the denial was due to a Service Animal; or (2) there is more than one (1)
          instance in which a User or the companion of a User alleges that you cancelled
          or refused a ride on the basis of a Service Animal.
    2.3   Your Relationship with Users. You acknowledge and agree that your provision of
          Transportation Services to Users creates a direct business relationship between
          you and the User. Company is not responsible or liable for the actions or
          inactions of a User in relation to you, your activities or your Vehicle. You shall
          have the sole responsibility for any obligations or liabilities to Users or third
          parties that arise from your provision of Transportation Services. You
          acknowledge and agree that you are solely responsible for taking such
          precautions as may be reasonable and proper (including maintaining adequate
          insurance that meets the requirements of all applicable laws including motor
          vehicle financial responsibility laws) regarding any acts or omissions of a User or
          third party. You acknowledge and agree that Company may release your contact
          and/or insurance information to a User upon such User’s reasonable request.
          You acknowledge and agree that, unless specifically consented to by a User, you
          may not transport or allow inside your Vehicle individuals other than a User and
          any individuals authorized by such User, during the performance of
          Transportation Services for such User. You acknowledge and agree that all Users
          should be transported directly to their specified destination, as directed by the
          applicable User, without unauthorized interruption or unauthorized stops.
    2.4   Your Relationship with Company. You acknowledge and agree that Company’s
          provision to you of the Driver App and the Uber Services creates a direct business
          relationship between Company and you. Company does not, and shall not be
          deemed to, direct or control you generally or in your performance under this
          Agreement specifically, including in connection with your provision of
          Transportation Services, your acts or omissions, or your operation and
          maintenance of your Vehicle. You retain the sole right to determine when,
          where, and for how long you will utilize the Driver App or the Uber Services.
          You retain the option, via the Driver App, to attempt to accept or to decline or
          ignore a User’s request for Transportation Services via the Uber Services, or to
          cancel an accepted request for Transportation Services via the Driver App,
          subject to Company’s then-current cancellation policies. With the exception of
          any signage required by local law or permit/license requirements, Company
          shall have no right to require you to: (a) display Company’s or any of its
          Affiliates’ names, logos or colors on your Vehicle(s); or (b) wear a uniform or any
          other clothing displaying Company’s or any of its Affiliates’ names, logos or
          colors. You acknowledge and agree that you have complete discretion to
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          provide services or otherwise engage in other business or employment
          activities. For the sake of clarity, you understand that you retain the complete
          right to; (i) use other software application services in addition to the Uber
          Services; and (ii) engage in any other occupation or business. Company
          retains the right to deactivate or otherwise restrict you from accessing or using
          the Driver App or the Uber Services in the event of a violation or alleged
          violation of this Agreement, your disparagement of Company or any of its
          Affiliates, your act or omission that causes harm to Company’s or its Affiliates’
          brand, reputation or business as determined by Company in its sole discretion.
    2.5   Ratings.
          2.5.1 You acknowledge and agree that: (a) after receiving Transportation
                Services, a User will be prompted by Uber’s mobile application to provide
                a rating of you and such Transportation Services and, optionally, to
                provide comments or feedback about you and such Transportation
                Services; and (b) after providing Transportation Services, you will be
                prompted by the Driver App to provide a rating of the User and,
                optionally, to provide comments or feedback about the User. You shall
                provide your ratings and feedback in good faith. You acknowledge that
                Company desires that Users have access to high-quality services via
                Uber’s mobile application. In order to continue to receive access to the
                Driver App and the Uber Services, you must maintain an average rating by
                Users that exceeds the minimum average acceptable rating established
                by Company for your Territory, as may be updated from time to time by
                Company in its sole discretion (“Minimum Average Rating”). Your
                average rating is intended to reflect Users’ satisfaction with your
                Transportation Services rather than your compliance with any of
                Company’s policies or recommendations. In the event your average
                rating falls below the Minimum Average Rating, Company will notify you
                and may provide you, in Company’s discretion, a limited period of time to
                raise your average rating above the Minimum Average Rating. If you do
                not increase your average rating above the Minimum Average Rating
                within the time period allowed (if any), Company reserves the right to
                deactivate your access to the Driver App and the Uber Services.
                Additionally, you acknowledge that your repeated failure to accept User
                requests for Transportation Services while you are logged in to the Driver
                App creates a negative experience for Users of Uber’s mobile application.
                If you do not wish to accept User requests for Transportation Services for
                a period of time, you agree that you will log off of the Driver App.
          2.5.2 Company and its Affiliates reserve the right to use, share and display
                your and User ratings and comments in any manner in connection with
                the business of Company and its Affiliates without attribution to you or
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                your approval. You acknowledge and agree that Company and its
                Affiliates are distributors (without any obligation to verify) and not
                publishers of your and User ratings and comments, provided that
                Company and its Affiliates reserve the right to edit or remove comments
                in the event that such comments include obscenities or other
                objectionable content, include an individual’s name or other personal
                information, or violate any privacy laws, other applicable laws or
                Company’s or its Affiliates’ content policies.
    2.6   Devices.
          2.6.1 Company encourages you to use Your Device in providing
                Transportation Services. Otherwise, if you elect to use any Company
                Devices, Company will supply you upon request with Company Devices
                and provide the necessary wireless data plan for such Devices, provided
                that Company will require reimbursement from you for the costs
                associated with the wireless data plan of each Company Device and/or
                request a deposit for each Company Device. You agree that: (a) Company
                Devices may only be used for the purpose of enabling your access to the
                Uber Services; and (b) Company Devices may not be transferred, loaned,
                sold or otherwise provided in any manner to any party other than you.
                Company Devices shall at all times remain the property of Company, and
                upon termination of this Agreement or your termination or deactivation,
                you agree to return to Company the applicable Company Devices within
                ten (10) days. You agree that failure to timely return any Company
                Devices, or damage to Company Devices outside of “normal wear and
                tear,” will result in the forfeiture of related deposits.
          2.6.2 If you elect to use Your Devices: (i) you are responsible for the
                acquisition, cost and maintenance of Your Devices as well as any
                necessary wireless data plan; and (ii) Company shall make available the
                Driver App for installation on Your Device. Company hereby grants you a
                personal, non-exclusive, non-transferable license to install and use the
                Driver App on Your Device solely for the purpose of providing
                Transportation Services. You agree to not provide, distribute or share, or
                enable the provision, distribution or sharing of, the Driver App (or any
                data associated therewith) with any third party. The foregoing license
                grant shall immediately terminate and you will delete and fully remove the
                Driver App from the Driver-Provided Device in the event that you cease to
                provide Transportation Services using Your Device. You agree that: (i) use
                of the Driver App on Your Device requires an active data plan with a
                wireless carrier associated with Your Device, which data plan will be
                provided by you at your own expense; and (ii) use of the Driver App on
                Your Device as an interface with the Uber Services may consume very
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                 large amounts of data through the data plan. COMPANY ADVISES THAT
                 YOUR DEVICE ONLY BE USED UNDER A DATA PLAN WITH UNLIMITED OR
                 VERY HIGH DATA USAGE LIMITS, AND COMPANY SHALL NOT BE
                 RESPONSIBLE OR LIABLE FOR ANY FEES, COSTS, OR OVERAGE
                 CHARGES ASSOCIATED WITH ANY DATA PLAN.
    2.7   Location Based Services. You acknowledge and agree that your geo-location
          information must be provided to the Uber Services via a Device in order to provide
          Transportation Services. You acknowledge and agree that: (a) your geo-
          location information may be obtained by the Uber Services while the Driver App
          is running; and (b) the approximate location of your Vehicle will be displayed to
          the User before and during the provision of Transportation Services to such User.
          In addition, Company and its Affiliates may monitor, track and share with third
          parties Driver’s geo-location information obtained by the Driver App and Device
          for safety and security purposes.
    3. You and Your Vehicle

    3.1   Your Requirements. You acknowledge and agree that at all times, you shall:
          (a) hold and maintain (i) a valid driver's license with the appropriate level of
          certification to operate your Vehicle, and (ii) all licenses, permits, approvals
          and authority applicable to you that are necessary to provide passenger
          transportation services to third parties in the Territory; (b) possess the
          appropriate and current level of training, expertise and experience to provide
          Transportation Services in a professional manner with due skill, care and
          diligence; and (c) maintain high standards of professionalism, service and
          courtesy. You acknowledge and agree that you may be subject to certain
          background and driving record checks from time to time in order to qualify to
          provide, and remain eligible to provide, Transportation Services. You
          acknowledge and agree that Company reserves the right, at any time in
          Company’s sole discretion, to deactivate or otherwise restrict you from
          accessing or using the Driver App or the Uber Services if you fail to meet the
          requirements set forth in this Agreement.
    3.2   Vehicle Requirements. You acknowledge and agree that your Vehicle shall at all
          times be: (a) properly registered and licensed to operate as a passenger
          transportation vehicle in the Territory; (b) owned or leased by you, or otherwise
          in your lawful possession; (c) suitable for performing the passenger
          transportation services contemplated by this Agreement; and (d) maintained in
          good operating condition, consistent with industry safety and maintenance
          standards for a Vehicle of its kind and any additional standards or requirements in
          the applicable Territory, and in a clean and sanitary condition.
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    3.3   Documentation. To ensure your compliance with all requirements in Sections
          3.1 and 3.2 above, you must provide Company with written copies of all such
          licenses, permits, approvals, authority, registrations and certifications prior to
          your provision of any Transportation Services. Thereafter, you must submit to
          Company written evidence of all such licenses, permits, approvals, authority,
          registrations and certifications as they are renewed. Company shall, upon
          request, be entitled to review such licenses, permits, approvals, authority,
          registrations and certifications from time to time, and your failure to provide or
          maintain any of the foregoing shall constitute a material breach of this
          Agreement. Company reserves the right to independently verify your
          documentation from time to time in any way Company deems appropriate in
          its reasonable discretion.
    4. Financial Terms

    4.1   Fare Calculation and Your Payment. You are entitled to charge a fare for
          each instance of completed Transportation Services provided to a User that are
          obtained via the Uber Services (“Fare”), where such Fare is calculated based
          upon a base fare amount plus distance (as determined by Company using
          location-based services enabled through the Device) and/or time amounts, as
          detailed at www.uber.com/cities for the applicable Territory (“Fare
          Calculation”). You acknowledge and agree that the Fare provided under the
          Fare Calculation is the only payment you will receive in connection with the
          provision of Transportation Services, and that neither the Fare nor the Fare
          Calculation includes any gratuity. You are also entitled to charge User for any
          Tolls, taxes or fees incurred during the provision of Transportation Services, if
          applicable. You: (i) appoint Company as your limited payment collection agent
          solely for the purpose of accepting the Fare, applicable Tolls and, depending on
          the region and/or if requested by you, applicable taxes and fees from the User
          on your behalf via the payment processing functionality facilitated by the Uber
          Services; and (ii) agree that payment made by User to Company (or to an
          Affiliate of Company acting as an agent of Company) shall be considered the
          same as payment made directly by User to you. In addition, the parties
          acknowledge and agree that as between you and Company, the Fare is a
          recommended amount, and the primary purpose of the pre-arranged Fare is to
          act as the default amount in the event you do not negotiate a different amount.
          You shall always have the right to: (i) charge a fare that is less than the pre-
          arranged Fare; or (ii) negotiate, at your request, a Fare that is lower than the pre-
          arranged Fare (each of (i) and (ii) herein, a “Negotiated Fare”). Company shall
          consider all such requests from you in good faith. Company agrees to remit, or
          cause to be remitted, to you on at least a weekly basis: (a) the Fare less the
          applicable Service Fee; (b) the Tolls; and (c) depending on the region, certain
          taxes and ancillary fees. If you have separately agreed that other amounts may
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          be deducted from the Fare prior to remittance to you (e.g., vehicle financing
          payments, lease payments, mobile device usage charges, etc.), the order of any
          such deductions from the Fare shall be determined exclusively by Company (as
          between you and Company).
    4.2   Changes to Fare Calculation. Company reserves the right to change the Fare
          Calculation at any time in Company’s discretion based upon local market
          factors, and Company will provide you with notice in the event of changes to
          the base fare, per mile, and/or per minute amounts that would result in a
          change in the recommended Fare. Continued use of the Uber Services after
          any such change in the Fare Calculation shall constitute your consent to such
          change.
    4.3   Fare Adjustment. Company reserves the right to: (i) adjust the Fare for a
          particular instance of Transportation Services (e.g., you took an inefficient
          route, you failed to properly end a particular instance of Transportation
          Services in the Driver App, technical error in the Uber Services, etc.); or (ii)
          cancel the Fare for a particular instance of Transportation Services (e.g., User is
          charged for Transportation Services that were not provided, in the event of a
          User complaint, fraud, etc.). Company’s decision to reduce or cancel the Fare in
          any such manner shall be exercised in a reasonable manner.
    4.4   Service Fee. In consideration of Company’s provision of the Driver App and the
          Uber Services for your use and benefit hereunder, you agree to pay Company
          a service fee on a per Transportation Services transaction basis calculated as a
          percentage of the Fare determined by the Fare Calculation (regardless of any
          Negotiated Fare), as provided to you via email or otherwise made available
          electronically by Company from time to time for the applicable Territory
          (“Service Fee”). In the event regulations applicable to your Territory require taxes
          to be calculated on the Fare, Company shall calculate the Service Fee based on
          the Fare net of such taxes. Company reserves the right to change the Service Fee
          at any time in Company’s discretion based upon local market factors, and
          Company will provide you with notice in the event of such change. Continued use
          of the Uber Services after any such change in the Service Fee calculation shall
          constitute your consent to such change.
    4.5   Cancellation Charges. You acknowledge and agree that Users may elect to
          cancel requests for Transportation Services that have been accepted by you via
          the Driver App at any time prior to your arrival. In the event that a User cancels an
          accepted request for Transportation Services, Company may charge the User a
          cancellation fee on your behalf. If charged, this cancellation fee shall be deemed
          the Fare for the cancelled Transportation Services for the purpose of
          remittance to you hereunder (“Cancellation Fee”). The parties acknowledge and
          agree that as between you and Company, this Cancellation Fee is a
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          recommended amount, and the primary purpose of such Cancellation Fee is to
          act as the default amount in the event you do not negotiate a different amount.
          You shall always have the right to: (i) charge a cancellation fee that is less than
          the Cancellation Fee; or (ii) negotiate, at your request, a cancellation fee that is
          lower than the Cancellation Fee (each of (i) and (ii) herein, a “Negotiated
          Cancellation Fee”). If charged, the Cancellation Fee (regardless of any
          Negotiated Cancellation Fee) shall be deemed the Fare for the cancelled
          Transportation Services for the purpose of remittance to you hereunder.
    4.6   Receipts. As part of the Uber Services, Company provides you a system for
          the delivery of receipts to Users for Transportation Services rendered. Upon your
          completion of Transportation Services for a User, Company prepares an
          applicable receipt and issues such receipt to the User via email on your behalf.
          Such receipts are also provided to you via email or the online portal available to
          you through the Uber Services. Receipts include the breakdown of amounts
          charged to the User for Transportation Services and may include specific
          information about you, including your name, contact information and photo, as
          well as a map of the route you took. Any corrections to a User’s receipt for
          Transportation Services must be submitted to Company in writing within three (3)
          business days after the completion of such Transportation Services. Absent
          such a notice, Company shall not be liable for any mistakes in or corrections to
          the receipt or for recalculation or disbursement of the Fare.
    4.7   No Additional Amounts. You acknowledge and agree that, for the mutual
          benefit of the parties, through advertising and marketing, Company and its
          Affiliates may seek to attract new Users to Uber and to increase existing Users’
          use of Uber’s mobile application. You acknowledge and agree such advertising
          or marketing does not entitle you to any additional monetary amounts beyond
          the amounts expressly set forth in this Agreement.
    4.8   Taxes. You acknowledge and agree that you are required to: (a) complete all tax
          registration obligations and calculate and remit all tax liabilities related to your
          provision of Transportation Services as required by applicable law; and (b)
          provide Company with all relevant tax information. You further acknowledge
          and agree that you are responsible for taxes on your own income arising from the
          performance of Transportation Services. Notwithstanding anything to the
          contrary in this Agreement, Company may in its reasonable discretion based on
          applicable tax and regulatory considerations, collect and remit taxes resulting
          from your provision of Transportation Services and/or provide any of the
          relevant tax information you have provided pursuant to the foregoing
          requirements in this Section 4.8 directly to the applicable governmental tax
          authorities on your behalf or otherwise.
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    5. Proprietary Rights; License

    5.1   License Grant. Subject to the terms and conditions of this Agreement,
          Company hereby grants you a non-exclusive, non-transferable, non-
          sublicensable, non-assignable license, during the term of this Agreement, to
          use the Uber Services (including the Driver App on a Device) solely for the
          purpose of providing Transportation Services to Users and tracking resulting
          Fares and Fees. All rights not expressly granted to you are reserved by
          Company, its Affiliates and their respective licensors.
    5.2   Restrictions. You shall not, and shall not allow any other party to: (a) license,
          sublicense, sell, resell, transfer, assign, distribute or otherwise provide or make
          available to any other party the Uber Services, Driver App or any Company
          Device in any way; (b) modify or make derivative works based upon the Uber
          Services or Driver App; (c) improperly use the Uber Services or Driver App,
          including creating Internet “links” to any part of the Uber Services or Driver
          App, “framing” or “mirroring” any part of the Uber Services or Driver App on
          any other websites or systems, or “scraping” or otherwise improperly obtaining
          data from the Uber Services or Driver App; (d) reverse engineer, decompile,
          modify, or disassemble the Uber Services or Driver App, except as allowed under
          applicable law; or (e) send spam or otherwise duplicative or unsolicited
          messages. In addition, you shall not, and shall not allow any other party to,
          access or use the Uber Services or Driver App to: (i) design or develop a
          competitive or substantially similar product or service; (ii) copy or extract any
          features, functionality, or content thereof; (iii) launch or cause to be launched on
          or in connection with the Uber Services an automated program or script,
          including web spiders, crawlers, robots, indexers, bots, viruses or worms, or any
          program which may make multiple server requests per second, or unduly burden
          or hinder the operation and/or performance of the Uber Services; or (iv)
          attempt to gain unauthorized access to the Uber Services or its related
          systems or networks.
    5.3   Ownership. The Uber Services, Driver App and Company Data, including all
          intellectual property rights therein, and the Company Devices are and shall
          remain (as between you and Company) the property of Company, its Affiliates or
          their respective licensors. Neither this Agreement nor your use of the Uber
          Services, Driver App or Company Data conveys or grants to you any rights in or
          related to the Uber Services, Driver App or Company Data, except for the limited
          license granted above. Other than as specifically permitted by the Company in
          connection with the Uber Services, you are not permitted to use or reference
          in any manner Company’s, its Affiliates’, or their respective licensors’ company
          names, logos, products and service names, trademarks, service marks, trade
          dress, copyrights or other indicia of ownership, alone and in combination with
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          other letters, punctuation, words, symbols and/or designs (the "UBER
          Marks and Names") for any commercial purposes. You agree that you will not
          try to register or otherwise use and/or claim ownership in any of the UBER
          Marks and Names, alone or in combination with other letters, punctuation,
          words, symbols and/or designs, or in any confusingly similar mark, name or
          title, for any goods and services.
    6. Confidentiality

    6.1   Each party acknowledges and agrees that in the performance of this
          Agreement it may have access to or may be exposed to, directly or indirectly,
          confidential information of the other party ("Confidential Information").
          Confidential Information includes Company Data, Driver IDs, User Information,
          and the transaction volume, marketing and business plans, business, financial,
          technical, operational and such other non-public information of each party
          (whether disclosed in writing or verbally) that such party designates as being
          proprietary or confidential or of which the other party should reasonably know
          that it should be treated as confidential.
    6.2   Each party acknowledges and agrees that: (a) all Confidential Information
          shall remain the exclusive property of the disclosing party; (b) it shall not use
          Confidential Information of the other party for any purpose except in
          furtherance of this Agreement; (c) it shall not disclose Confidential Information
          of the other party to any third party, except to its employees, officers,
          contractors, agents and service providers ("Permitted Persons") as necessary to
          perform under this Agreement, provided Permitted Persons are bound in
          writing to obligations of confidentiality and non-use of Confidential Information
          no less protective than the terms hereof; and (d) it shall return or destroy all
          Confidential Information of the disclosing party, upon the termination of this
          Agreement or at the request of the other party (subject to applicable law and,
          with respect to Company, its internal record-keeping requirements).
    6.3   Notwithstanding the foregoing, Confidential Information shall not include any
          information to the extent it: (a) is or becomes part of the public domain through
          no act or omission on the part of the receiving party; (b) was possessed by the
          receiving party prior to the date of this Agreement without an obligation of
          confidentiality; (c) is disclosed to the receiving party by a third party having no
          obligation of confidentiality with respect thereto; or (d) is required to be
          disclosed pursuant to law, court order, subpoena or governmental authority,
          provided the receiving party notifies the disclosing party thereof and provides
          the disclosing party a reasonable opportunity to contest or limit such required
          disclosure.
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    7. Privacy

    7.1   Disclosure of Your Information. Subject to applicable law, Company and its
          Affiliates may, but shall not be required to, provide to you, a User, an insurance
          company and/or relevant authorities and/or regulatory agencies any
          information (including personal information (e.g., information obtained about
          you through any background check) and any Company Data) about you or any
          Transportation Services provided hereunder if: (a) there is a complaint, dispute
          or conflict, including an accident, between you and a User; (b) it is necessary to
          enforce the terms of this Agreement; (c) it is required, in Company’s or any
          Affiliate’s sole discretion, by applicable law or regulatory requirements (e.g.,
          Company or its Affiliates receive a subpoena, warrant, or other legal process for
          information); (d) it is necessary, in Company’s or any Affiliate’s sole discretion,
          to (1) protect the safety, rights, property or security of Company or its Affiliates,
          the Uber Services or any third party; (2) to protect the safety of the public for any
          reason including the facilitation of insurance claims related to the Uber
          Services; (3) to detect, prevent or otherwise address fraud, security or
          technical issues; (4) to prevent or stop activity which Company or any of its
          Affiliates, in their sole discretion, may consider to be, or to pose a risk of being,
          an illegal, unethical, or legally actionable activity); or (e) it is required or
          necessary, in Company’s or any Affiliate’s sole discretion, for insurance or
          other purposes related to your ability to qualify, or remain qualified, to use the
          Uber Services. You understand that Company may retain your personal data for
          legal, regulatory, safety and other necessary purposes after this Agreement is
          terminated.
    7.2   Company and its Affiliates may collect your personal data during the course of
          your application for, and use of, the Uber Services, or may obtain information
          about you from third parties. Such information may be stored, processed,
          transferred, and accessed by Company and its Affiliates, third parties, and
          service providers for business purposes, including for marketing, lead
          generation, service development and improvement, analytics, industry and
          market research, and such other purposes consistent with Company’s and its
          Affiliates’ legitimate business needs. You expressly consent to such use of
          personal data.
    8. Insurance

    8.1   You agree to maintain during the term of this Agreement on all Vehicles operated
          by you under this Agreement automobile liability insurance that provides
          protection against bodily injury and property damage to third parties at levels of
          coverage that satisfy the minimum requirements to operate a private passenger
          vehicle on the public roads within the Territory. This coverage must also include
          any no-fault coverage required by law in the Territory that may not be waived by
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          an insured. You agree to provide Company and its Affiliates a copy of the
          insurance policy, policy declarations, proof of insurance identification card and
          proof of premium payment for the insurance policy required in this Section 8.1
          upon request. Furthermore, you must provide Company with written notice of
          cancellation of any insurance policy required by Company. Company shall
          have no right to control your selection or maintenance of your policy. You must
          be a named insured or individually rated driver, for which a premium is
          charged, on the insurance policy required in this Section 8.1 at all times.

    8.2   You agree to maintain during the term of this Agreement workers’
          compensation insurance as required by all applicable laws in the Territory. If
          permitted by applicable law, you may choose to insure yourself against
          industrial injuries by maintaining occupational accident insurance in place of
          workers’ compensation insurance. Furthermore, if permitted by applicable law,
          you may choose not to insure yourself against industrial injuries at all, but do
          so at your own risk.

    8.3   You understand and acknowledge that your personal automobile insurance
          policy may not afford liability, comprehensive, collision, medical payments,
          personal injury protection, uninsured motorist, underinsured motorist, or other
          coverage for the Transportation Services you provide pursuant to this
          Agreement. If you have any questions or concerns about the scope or
          applicability of your own insurance coverage, it is your responsibility, not that of
          Company, to resolve them with your insurer(s).

    8.4   Company may maintain during the term of this Agreement insurance related to
          your provision of Transportation Services as determined by Company in its
          reasonable discretion or as described in a City Addendum, provided that
          Company and its Affiliates are not required to provide you with any specific
          insurance coverage for any loss to you or your Vehicle. You are required to
          promptly notify Company of any accidents that occur while providing
          Transportation Services and to cooperate and provide all necessary information
          related thereto.

    9. Representations and Warranties; Disclaimers

    9.1   By You. You hereby represent and warrant that: (a) you have full power and
          authority to enter into this Agreement and perform your obligations hereunder;
          (b) you have not entered into, and during the term will not enter into, any
          agreement that would prevent you from complying with this Agreement; and (c)
          you will comply with all applicable laws in your performance of this Agreement,
          including holding and complying with all permits, licenses, registrations and other
          governmental authorizations necessary to provide (i) Transportation Services
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             using the Vehicles pursuant to this Agreement, and (ii) passenger
             transportation services to third parties in the Territory generally.
    9.2      Disclaimer of Warranties. COMPANY AND ITS AFFILIATES PROVIDE, AND YOU
             ACCEPT, THE UBER SERVICES, DRIVER APP AND THE COMPANY DEVICES ON AN
             "AS IS" AND "AS AVAILABLE" BASIS. COMPANY AND ITS AFFILIATES DO NOT
             REPRESENT, WARRANT OR GUARANTEE THAT YOUR ACCESS TO OR USE OF THE
             UBER SERVICES, DRIVER APP OR THE COMPANY DEVICES: (A) WILL BE
             UNINTERRUPTED OR ERROR FREE; OR (B) WILL RESULT IN ANY REQUESTS FOR
             TRANSPORTATION SERVICES. COMPANY AND ITS AFFILIATES FUNCTION AS AN ON-
             DEMAND LEAD GENERATION AND RELATED SERVICE ONLY AND MAKE NO
             REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO THE ACTIONS OR
             INACTIONS OF THE USERS WHO MAY REQUEST OR RECEIVE TRANSPORTATION
             SERVICES FROM YOU, AND COMPANY AND ITS AFFILIATES DO NOT SCREEN
             OR OTHERWISE EVALUATE USERS. BY USING THE UBER SERVICES AND DRIVER
             APP, YOU ACKNOWLEDGE AND AGREE THAT YOU MAY BE INTRODUCED TO A
             THIRD PARTY THAT MAY POSE HARM OR RISK TO YOU OR OTHER THIRD PARTIES.
             YOU ARE ADVISED TO TAKE REASONABLE PRECAUTIONS WITH RESPECT TO
             INTERACTIONS WITH THIRD PARTIES ENCOUNTERED IN CONNECTION WITH THE
             USE OF THE UBER SERVICES OR DRIVER APP.NOTWITHSTANDING COMPANY’S
             APPOINTMENT AS THE LIMITED PAYMENT COLLECTION AGENT OF YOU FOR THE
             PURPOSE OF ACCEPTING PAYMENT FROM USERS ON YOUR BEHALF AS SET
             FORTH IN SECTION 4 ABOVE, COMPANY AND ITS AFFILIATES EXPRESSLY
             DISCLAIM ALL LIABILITY FOR ANY ACT OR OMISSION OF YOU, ANY USER OR OTHER
             THIRD PARTY.
    9.3      No Service Guarantee. COMPANY AND ITS AFFILIATES DO NOT GUARANTEE THE
             AVAILABILITY OR UPTIME OF THE UBER SERVICES OR DRIVER APP. YOU
             ACKNOWLEDGE AND AGREE THAT THE UBER SERVICES OR DRIVER APP MAY BE
             UNAVAILABLE AT ANY TIME AND FOR ANY REASON (e.g., DUE TO SCHEDULED
             MAINTENANCE OR NETWORK FAILURE). FURTHER, THE UBER SERVICES OR
             DRIVER APP MAY BE SUBJECT TO LIMITATIONS, DELAYS, AND OTHER PROBLEMS
             INHERENT IN THE USE OF THE INTERNET AND ELECTRONIC
             COMMUNICATIONS, AND COMPANY AND ITS AFFILIATES ARE NOT RESPONSIBLE
             FOR ANY DELAYS, DELIVERY FAILURES, OR OTHER DAMAGES, LIABILITIES OR
             LOSSES RESULTING FROM SUCH PROBLEMS.
    10. Indemnification. You shall indemnify, defend (at Company’s option) and hold
          harmless Company and its Affiliates and their respective officers, directors,
          employees, agents, successors and assigns from and against any and all liabilities,
          expenses (including legal fees), damages, penalties, fines, social security
          contributions and taxes arising out of or related to: (a) your breach of your
          representations, warranties or obligations under this Agreement; or (b) a claim by
          a third party (including Users, regulators and governmental authorities) directly or
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       indirectly related to your provision of Transportation Services or use of the Uber
       Services. This indemnification provision shall not apply to your breach of any
       representations regarding your status as a contractor.
    11. Term and Termination

    11.1   Term. This Agreement shall commence on the date accepted by you and shall
           continue until terminated as set forth herein.
    11.2   Termination. Either party may terminate this Agreement: (a) without cause at
           any time upon seven (7) days prior written notice to the other party; (b)
           immediately, without notice, for the other party’s material breach of this
           Agreement; or (c) immediately, without notice, in the event of the insolvency or
           bankruptcy of the other party, or upon the other party’s filing or submission of
           request for suspension of payment (or similar action or event) against the
           terminating party. In addition, Company may terminate this Agreement or
           deactivate your Driver ID immediately, without notice, with respect to you in the
           event you no longer qualify, under applicable law or the standards and policies
           of Company and its Affiliates, to provide Transportation Services or to operate the
           Vehicle, or as otherwise set forth in this Agreement.
    11.3   Effect of Termination. Upon termination of the Agreement, you shall: (a)
           promptly return to Company all Company Devices; and (b) immediately delete
           and fully remove the Driver App from any of Your Devices. Outstanding
           payment obligations and Sections 1, 2.3, 2.5.3, 4.7, 4.8, 5.3, 6, 7, 9, 10, 11,
           12.3, 13, 14 and 15 shall survive the termination of this Agreement.
    12. Relationship of the Parties

    12.1   Except as otherwise expressly provided herein with respect to Company
           acting as the limited payment collection agent solely for the purpose of
           collecting payment from Users on your behalf, the relationship between
           the parties under this Agreement is solely that of independent
           contracting parties. The parties expressly agree that: (a) this Agreement is not
           an employment agreement, nor does it create an employment
           relationship, between Company and you; and (b) no joint venture,
           partnership, or agency relationship exists between Company and you.

    12.2   You have no authority to bind Company or its Affiliates and you undertake not
           to hold yourself out as an employee, agent or authorized representative of
           Company or its Affiliates. Where, by implication of mandatory law or otherwise,
           you may be deemed an agent or representative of Company, you undertake
           and agree to indemnify, defend (at Company’s option) and hold Company and
           its Affiliates harmless from and against any claims by any person or entity based
           on such implied agency or representative relationship.
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    13. Miscellaneous Terms
    13.1   Modification. In the event Company modifies the terms and conditions of this
           Agreement at any time, such modifications shall be binding on you only upon
           your acceptance of the modified Agreement. Company reserves the right to
           modify any information referenced at hyperlinks from this Agreement from
           time to time. You hereby acknowledge and agree that, by using the Uber
           Services, or downloading, installing or using the Driver App, you are bound by
           any future amendments and additions to information referenced at hyperlinks
           herein, or documents incorporated herein, including with respect to Fare
           Calculations. Continued use of the Uber Services or Driver App after any such
           changes shall constitute your consent to such changes.
    13.2   Supplemental Terms. Supplemental terms may apply to your use of the Uber
           Services, such as use policies or terms related to certain features and
           functionality, which may be modified from time to time (“Supplemental Terms”).
           You may be presented with certain Supplemental Terms from time to time.
           Supplemental Terms are in addition to, and shall be deemed a part of, this
           Agreement. Supplemental Terms shall prevail over this Agreement in the event
           of a conflict.
    13.3   Severability. If any provision of this Agreement is or becomes invalid or non-
           binding, the parties shall remain bound by all other provisions hereof. In that
           event, the parties shall replace the invalid or non-binding provision with
           provisions that are valid and binding and that have, to the greatest extent
           possible, a similar effect as the invalid or non-binding provision, given the
           contents and purpose of this Agreement.
    13.4   Assignment. Neither party shall assign or transfer this Agreement or any of
           its rights or obligations hereunder, in whole or in part, without the prior written
           consent of the other party; provided that Company may assign or transfer this
           Agreement or any or all of its rights or obligations under this Agreement from
           time to time without consent: (a) to an Affiliate; or (b) to an acquirer of all or
           substantially all of Company’s business, equity or assets.
    13.5   Entire Agreement. Except as provided below, this Agreement, including all
           Supplemental Terms, constitutes the entire agreement and understanding of the
           parties with respect to its subject matter and replaces and supersedes all prior or
           contemporaneous agreements or undertakings regarding such subject matter.
           In this Agreement, the words “including” and “include” mean “including, but not
           limited to.” The recitals form a part of this Agreement. Notwithstanding the
           foregoing, if you opt out of the arbitration provision set forth in Section __
           below, then any prior arbitration agreement between the parties shall remain in
           full force and effect.
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    13.6   No Third Party Beneficiaries. There are no third party beneficiaries to this
           Agreement, except as expressly set forth in the Arbitration Provision in Section
           15.2 below. Nothing contained in this Agreement is intended to or shall be
           interpreted to create any third-party beneficiary claims.
    13.7   Notices. Any notice delivered by Company to you under this Agreement will
           be delivered by email to the email address associated with your account or by
           posting on the portal available to you on the Uber Services. Any notice delivered
           by you to Company under this Agreement will be delivered by contacting
           Company at http://partners.uber.com in the “Contact Us” section. Additional
           Territory-specific notices may be required from time to time.
    14. Existing Agreements. This Section 14 only applies if you were party to a 2017
       Agreement effective immediately prior to the Effective Time:
    14.1   2017 Agreement. Except as provided in Section 15 below, you and the
           applicable Uber Subsidiary hereby terminate such 2015 Agreement (except
           as provided in Section 12.3 of the 2017 Agreement), effective as of the
           Effective Time (the “2017 Termination”). The parties further agree to waive
           any applicable notice requirements with respect to the 2017 Termination.
    14.2   Continuing Agreements. Notwithstanding the 2017 Termination, you hereby
           (a) ratify, assume and confirm your obligations under any Existing Supplemental
           Terms or Existing City Addenda and (b) acknowledge and agree that as of the
           Effective Time such Existing Supplemental Terms and Existing City Addenda
           are Supplemental Terms or City Addenda, as applicable, under this Agreement.
           The Company hereby ratifies, assumes and confirms its obligations under such
           agreements.
    15. Governing Law; Arbitration

    15.1   The choice of law provisions contained in this Section 15.1 do not apply to the
           arbitration clause contained in Section 15.2, such arbitration clause being
           governed by the Federal Arbitration Act. Accordingly, and except as otherwise
           stated in Section 15.2, the interpretation of this Agreement shall be governed
           by California law, without regard to the choice or conflicts of law provisions of
           any jurisdiction. Any disputes, actions, claims or causes of action arising out of
           or in connection with this Agreement or the Uber Services that are not subject
           to the arbitration clause contained in Section 15.2 shall be subject to the
           exclusive jurisdiction of the state and federal courts located in the City and
           County of San Francisco, California. However, neither the choice of law
           provision regarding the interpretation of this Agreement nor the forum
           selection provision is intended to create any other substantive right to non-
           Californians to assert claims under California law whether that be by statute,
           common law, or otherwise. These provisions, and except as otherwise
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           provided in Section 15.2, are only intended to specify the use of California law
           to interpret this Agreement and the forum for disputes asserting a breach of this
           Agreement, and these provisions shall not be interpreted as generally extending
           California law to you if you do not otherwise reside or provide services in
           California. The foregoing choice of law and forum selection provisions do not
           apply to the arbitration clause in Section 15.2 or to any arbitrable disputes as
           defined therein. Instead, as described in Section 15.2, the Federal Arbitration
           Act shall apply to any such disputes. The failure of Company to enforce any
           right or provision in this Agreement shall not constitute a waiver of such right or
           provision unless acknowledged and agreed to by Uber in writing.

    15.2   Arbitration Provision.

           IMPORTANT: PLEASE REVIEW THIS ARBITRATION PROVISION
           CAREFULLY, AS IT WILL REQUIRE YOU TO RESOLVE DISPUTES WITH
           THE COMPANY ON AN INDIVIDUAL BASIS THROUGH FINAL AND BINDING
           ARBITRATION, EXCEPT AS PROVIDED BELOW. YOU MAY CHOOSE TO
           OPT OUT OF THIS ARBITRATION PROVISION BY FOLLOWING THE BELOW
           INSTRUCTIONS. THERE ARE AND/OR MAY BE LAWSUITS ALLEGING
           CLASS, COLLECTIVE OR REPRESENTATIVE CLAIMS ON YOUR BEHALF
           AGAINST THE COMPANY. IF YOU DO NOT OPT OUT OF THIS ARBITRATION
           PROVISION AND THEREFORE AGREE TO ARBITRATION WITH THE
           COMPANY, YOU ARE AGREEING IN ADVANCE, EXCEPT AS OTHERWISE
           PROVIDED BELOW, THAT YOU WILL NOT PARTICIPATE IN AND,
           THEREFORE, WILL NOT SEEK OR BE ELIGIBLE TO RECOVER MONETARY
           OR OTHER RELIEF IN CONNECTION WITH, ANY SUCH CLASS,
           COLLECTIVE OR REPRESENTATIVE LAWSUIT. THIS ARBITRATION
           PROVISION, HOWEVER, WILL ALLOW YOU TO BRING INDIVIDUAL CLAIMS
           IN ARBITRATION ON YOUR OWN BEHALF.
           15.2.1 How This Arbitration Provision Applies

           This Arbitration Provision is a contract governed by the Federal Arbitration Act, 9
           U.S.C. § 1 et seq. and evidences a transaction involving commerce, and you
           agree that this is not a contract of employment involving any class of workers
           engaged in foreign or interstate commerce within the meaning of Section 1 of
           the Federal Arbitration Act (FAA). If notwithstanding the foregoing, the FAA does
           not apply to this Arbitration Provision, the law pertaining to arbitration
           agreements of the state where you reside when you entered into this Agreement
           shall apply. Except as it otherwise provides, this Arbitration Provision applies to
           any legal dispute, past, present or future, arising out of or related to your
           relationship with the Company or relationship with any of its agents, employees,
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          executives, officers, investors, shareholders, affiliates, successors, assigns,
          subsidiaries or parent companies (each of which may enforce this Arbitration
          Provision as third party beneficiaries), and termination of that relationship, and
          survives after the relationship terminates.

          This Arbitration Provision applies to all claims whether brought by you or the
          Company, except as provided below. This Arbitration Provision requires all such
          claims to be resolved only by an arbitrator through final and binding individual
          arbitration and not by way of court or jury trial. Except as provided below
          regarding the Class Action Waiver and Representative Action Waiver, such
          disputes include without limitation disputes arising out of or relating to
          interpretation or application of this Arbitration Provision, including the formation,
          scope, enforceability, waiver, applicability, revocability or validity of this
          Arbitration Provision or any portion of this Arbitration Provision.

          Except as it otherwise provides, this Arbitration Provision also applies, without
          limitation, to disputes between you and the Company, or between you and any
          other entity or individual, arising out of or related to your application for and use
          of an account to use the Uber Services and Driver App as a driver, background
          checks, your privacy, your contractual relationship with the Company or the
          termination of that relationship (including post-relationship defamation or
          retaliation claims), the nature of your relationship with the Company (including,
          but not limited to, any claim that you are an employee of the Company), trade
          secrets, workplace safety and health, unfair competition, compensation,
          minimum wage, expense reimbursement, overtime, breaks and rest periods,
          retaliation, discrimination, or harassment and claims arising under the
          Telephone Consumer Protection Act, Fair Credit Reporting Act, Title VII of the
          Civil Rights Act of 1964, 42 U.S.C. § 1981, 8 U.S.C. § 1324b (unfair immigration
          related practices), Americans With Disabilities Act, Age Discrimination in
          Employment Act, Fair Labor Standards Act, Worker Adjustment and Retraining
          Notification Act, Older Workers Benefits Protection Act of 1990, Occupational
          Safety and Health Act, Consolidated Omnibus Budget Reconciliation Act of
          1985, federal, state or local statutes or regulations addressing the same or
          similar subject matters, and all other federal, state, or local statutory, common
          law and legal claims (including without limitation, torts) arising out of or relating
          to your relationship with the Company or the termination of that relationship.
          15.2.2 Limitations On How This Arbitration Provision Applies

          Nothing in this Arbitration Provision prevents you from making a report to or
          filing a claim or charge with a government agency, including without limitation
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          the Equal Employment Opportunity Commission, U.S. Department of Labor,
          U.S. Securities and Exchange Commission, National Labor Relations Board, or
          Office of Federal Contract Compliance Programs. This Arbitration Provision also
          does not prevent federal administrative agencies from adjudicating claims and
          awarding remedies based on those claims, even if the claims would otherwise
          be covered by this Arbitration Provision.

          Where you allege claims of sexual assault or sexual harassment, you may elect
          to bring those claims in a court of competent jurisdiction instead of arbitration.
          Company agrees to honor your election of forum with respect to your individual
          sexual harassment or sexual assault claim but in so doing does not waive the
          enforceability of this Arbitration Provision as to any other provision (including but
          not limited to Section 15.2.4 below, which will continue to apply in court and
          arbitration), controversy, claim or dispute.

          To the extent an Act of Congress or applicable federal law not preempted by the
          Federal Arbitration Act provides that a particular claim or dispute may not be
          subject to pre-dispute arbitration, such claim or dispute is excluded from the
          coverage of this Arbitration Provision. Likewise, if the Federal Arbitration Act
          does not apply to a claim or dispute, any claims or disputes that may not be
          subject to pre-dispute arbitration under applicable state arbitration law will be
          excluded from the coverage of this Arbitration Provision.

          Impact on Pending Litigation: This Arbitration Provision shall not affect your
          standing with respect to any litigation against the Company brought by you or on
          your behalf that is pending in a state or federal court or arbitration as of the date
          of your receipt of this Arbitration Provision (“pending litigation”). Therefore:

                •   If you are or previously were a driver-partner authorized to use the
                    Uber Services and Driver App, and at the time of your receipt of this
                    Agreement you were not bound by an existing arbitration agreement
                    with the Company, you shall remain eligible to participate in any
                    pending litigation to which you were a party or putative class, collective
                    or representative action member regardless of whether you opt out of
                    this Arbitration Provision.

                •   If, at the time of your receipt of this Agreement, you were bound by an
                    existing arbitration agreement with the Company, that arbitration
                    agreement will continue to apply to any pending litigation, even if you
                    opt out of this Arbitration Provision.
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                •   If, at the time of your receipt of this Agreement, you were not
                    previously a driver-partner authorized to use the Uber Services and
                    Driver App, then this Arbitration Provision will apply to covered claims
                    and any pending litigation unless you opt out of this Arbitration
                    Provision as provided below.
          15.2.3 Governing Rules, Starting The Arbitration, And Selecting The
                 Arbitrator

          The JAMS Comprehensive Arbitration Rules & Procedures (the “JAMS Rules”)
          will apply to arbitration under this Arbitration Provision; however, if there is a
          conflict between the JAMS Rules and this Arbitration Provision, this Arbitration
          Provision shall govern. The JAMS Rules are available by, for example,
          searching Google.com, to locate “JAMS Comprehensive Arbitration Rules” or by
          clicking here: https://www.jamsadr.com/rules-comprehensive-arbitration/.

          Prior to commencing arbitration with JAMS, the party bringing the claim in
          arbitration must first demand arbitration in writing within the applicable statute of
          limitations period. The demand for arbitration shall include identification of the
          parties, a statement of the legal and factual basis of the claim(s), and a
          specification of the remedy sought and the amount in controversy. Any demand
          for arbitration made to the Company shall be served upon Uber’s registered
          agent for service of process (CT Corporation, 818 West Seventh Street, Suite
          930, Los Angeles, California 90017). Any demand for arbitration made to you
          shall be sent via electronic email to the email address associated with your
          driver-partner account.

          Before the arbitration demand is submitted to JAMS, the party bringing the claim
          shall first attempt to informally negotiate with the other party, in good faith, a
          resolution of the dispute, claim or controversy between the parties for a period of
          not less than 30 days but no more than 45 days (the “negotiation period”) unless
          extended by mutual agreement of the parties. During the negotiation period, any
          otherwise applicable statute of limitations shall be tolled. If the parties cannot
          reach agreement to resolve the dispute, claim or controversy within the
          negotiation period, the party bringing the claim shall submit the arbitration
          demand to JAMS.

          To commence arbitration, the party bringing the claim must: (1) submit the
          arbitration demand to JAMS, and (2) pay its, his or her portion of any initial
          arbitration filing fee (see Section 15.2.6 below).
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          During the negotiation period, the party bringing the claim shall also make a
          good faith effort to meet and confer with the other party regarding the selection
          of an Arbitrator. If the parties reach agreement on an Arbitrator not affiliated with
          JAMS or to use procedures either not specified in the JAMS Rules or in lieu of
          the JAMS Rules, any such agreement shall be memorialized in writing before
          arbitration is commenced.

          Delivering a written arbitration demand to the other party will not relieve the
          party bringing the claim of the obligation to commence arbitration as described
          above. It shall always be the obligation of the party bringing the claim to
          commence arbitration.

          If, for any reason, the parties cannot agree to an Arbitrator or JAMS will not
          administer the arbitration, either party may apply to a court of competent
          jurisdiction with authority over the location where the arbitration will be
          conducted for appointment of a neutral Arbitrator. The location of the arbitration
          shall be no more than 45 miles from and in the same state where you last used
          the Uber Services and Driver App as a driver, unless each party to the
          arbitration agrees in writing otherwise.

          All claims in arbitration are subject to the same statutes of limitation that would
          apply in court. The Arbitrator shall resolve all disputes regarding the timeliness
          or propriety of the demand for arbitration.

          15.2.4 Class Action Waiver

          This Arbitration Provision affects your ability to participate in class or
          collective actions. Both the Company and you agree to bring any dispute in
          arbitration on an individual basis only, and not on a class or collective basis on
          behalf of others. There will be no right or authority for any dispute to be brought,
          heard or arbitrated as a class or collective action, or for you to participate as a
          member in any such class or collective proceeding (“Class Action Waiver”).
          Notwithstanding any other provision of this Arbitration Provision or the JAMS
          Rules, disputes in court or arbitration regarding the validity, enforceability,
          conscionability or breach of the Class Action Waiver, or whether the Class
          Action Waiver is void or voidable, may be resolved only by the court and not by
          an arbitrator. In any case in which (1) the dispute is filed as a class or collective
          action and (2) there is a final judicial determination that all or part of the Class
          Action Waiver is unenforceable, the class or collective action to that extent must
          be litigated in a civil court of competent jurisdiction, but the portion of the Class
          Action Waiver that is enforceable shall be enforced in arbitration.
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          15.2.5 Representative Action Waiver

          This Arbitration Provision affects your ability to participate in
          representative actions. To the maximum extent provided by law, both the
          Company and you agree to bring any dispute in arbitration on an individual basis
          only, and not on a representative basis—including but not limited to as a private
          attorney general representative under the California Labor Code—on behalf of
          others. There will be no right or authority for any dispute to be brought, heard or
          arbitrated as a representative action, or for you to participate as a member in
          any such representative proceeding (“Representative Action Waiver”).
          Notwithstanding any other provision of this Arbitration Provision or the JAMS
          Rules, disputes in court or arbitration regarding the validity, enforceability,
          conscionability or breach of the Representative Action Waiver, or whether the
          Representative Action Waiver is void or voidable, may be resolved only by the
          court and not by an arbitrator. If any portion of this Representative Action Waiver
          is found to be unenforceable or unlawful for any reason (1) any representative
          claims subject to the unenforceable or unlawful portion(s) shall proceed in a civil
          court of competent jurisdiction; (2) the portion of the Representative Action
          Waiver that is enforceable shall be enforced in arbitration; (3) the unenforceable
          or unlawful provision shall be severed from this Agreement; and (4) severance
          of the unenforceable or unlawful provision shall have no impact whatsoever on
          the Arbitration Provision or the arbitrability of any remaining claims asserted by
          you or the Company.

          Disputes regarding the nature of your relationship with the Company (including,
          but not limited to, any claim that you are an employee of the Company), as well
          as any claim you bring on your own behalf as an aggrieved worker for recovery
          of underpaid wages or other individualized relief (as opposed to a representative
          claim for civil penalties) are arbitrable and must be brought in arbitration on an
          individual basis only as required by this Arbitration Provision. You agree that any
          representative claim that is permitted to proceed in a civil court of competent
          jurisdiction must be stayed pending the arbitration of your dispute regarding the
          nature of your relationship with the Company and any claim you bring on your
          own behalf for individualized relief.
          15.2.6 Paying For The Arbitration

          Except in the case of offers of judgment (such as under Federal Rule of Civil
          Procedure 68 or any applicable state equivalents), each party will pay the fees
          for its, his or her own attorneys and any costs that are not unique to arbitration,
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          subject to any remedies to which that party may later be entitled under
          applicable law.

          You and the Company shall follow the JAMS Rules applicable to initial
          arbitration filing fees, except that your portion of any initial arbitration filing fee
          shall not exceed the amount you would be required to pay to initiate a lawsuit in
          federal court in the jurisdiction where the arbitration will be conducted. After (and
          only after) you have paid your portion of any initial arbitration filing fee, the
          Company will make up the difference, if any, between the fee you have paid and
          the amount required by the JAMS Rules.

          In all cases where required by law, the Company will pay the Arbitrator's fees,
          as well as all fees and costs unique to arbitration. Otherwise, such fee(s) will be
          apportioned between the parties in accordance with said applicable law, and
          any disputes in that regard will be resolved by the Arbitrator. You agree to not
          oppose any negotiations between JAMS and the Company relating only to the
          Company’s fees.

          15.2.7 The Arbitration Hearing And Award

          Within 30 days of the close of the arbitration hearing, any party will have the
          right to prepare, serve on the other party and file with the Arbitrator a brief. The
          Arbitrator may award any party any remedy to which that party is entitled under
          applicable law, but such remedies shall be limited to those that would be
          available to a party in his or her individual capacity in a court of law for the
          claims presented to and decided by the Arbitrator. The Arbitrator shall apply
          applicable controlling law and will issue a decision or award in writing, stating
          the essential findings of fact and conclusions of law. A court of competent
          jurisdiction shall have the authority to enter a judgment upon the award made
          pursuant to the arbitration.
          15.2.8 Your Right To Opt Out Of This Arbitration Provision

          Agreeing to this Arbitration Provision is not a mandatory condition of your
          contractual relationship with the Company. If you do not want to be subject to
          this Arbitration Provision, you may opt out of this Arbitration Provision (subject
          to the pending litigation provision in Section 15.2.2, and the limitations set forth
          in this Section 15.2.8). To do so, within 30 days of the date that this Agreement
          is electronically accepted by you, you must send an electronic email from the
          email address associated with your driver-partner account to
          optout@uber.com, stating your intent to opt out of this Arbitration Provision, as
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          well as your name, the phone number associated with your driver-partner
          account, and the city in which you reside.

          An email sent by your agent or representative (including your counsel) shall
          not be effective. Your email may opt out yourself only, and any email that
          purports to opt out anyone other than yourself shall be void as to any others.
          Should you not opt out of this Arbitration Provision within the 30-day period,
          you and the Company shall be bound by the terms of this Arbitration Provision.
          You will not be subject to retaliation if you exercise your right to opt out of this
          Arbitration Provision.

          If you opt out of this Arbitration Provision and at the time of your receipt of this
          Agreement you were bound by an existing agreement to arbitrate disputes
          arising out of or related to your use of the Uber Services and Driver App, that
          existing arbitration agreement will remain in full force and effect.

          Neither your acceptance of this Agreement nor your decision to opt out of this
          Arbitration Provision will affect any obligation you have to arbitrate disputes not
          specified in this Arbitration Provision pursuant to any other agreement you
          have with the Company or any of its subsidiaries or affiliate entities. Likewise,
          your acceptance of or decision to opt out of any other arbitration agreement
          you have with the Company or any of its subsidiaries or affiliate entities shall
          not affect any obligation you have to arbitrate claims pursuant to this
          Arbitration Provision.
          15.2.9 Enforcement Of This Arbitration Provision

          You have the right to consult with counsel of your choice concerning this
          Arbitration Provision and to be represented by counsel at any stage during the
          arbitration process. Except as provided in Sections 15.2.2 and 15.2.8 of this
          Arbitration Provision, this Arbitration Provision replaces prior agreements
          regarding the arbitration of disputes and is the full and complete agreement
          relating to the formal resolution of disputes covered by this Arbitration Provision.
          In the event any portion of this Arbitration Provision is deemed unenforceable,
          the remainder of this Arbitration Provision will be enforceable. This Arbitration
          Provision will survive the termination of your relationship with the Company, and
          it will continue to apply if your relationship with the Company is ended but later
          renewed.
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                   Exhibit E: January 2020 PAA
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                                      Platform Access Agreement

                                                                       Updated as of January 6, 2020

   This Platform Access Agreement (this “PAA”) is by and among you and your company/business
   (“you”) and the following entity as applicable, based on the region specified: Uber
   Technologies, Inc. in California; Rasier-PA, LLC in Pennsylvania; Rasier-DC, LLC in Florida; Rasier-
   MT, LLC in Montana; Rasier-NY, LLC in New York; and Rasier, LLC in all other U.S. states,
   territories and possessions (collectively, “Uber”). This PAA governs your access to our Platform
   (defined below) which facilitates your provision of rideshare or peer-to-peer transportation
   service (collectively, “P2P Service”) to account holders seeking to access certain types of P2P
   Service (“Riders”) for themselves and/or their guests. For the sake of clarity and depending on
   the context, references to “Uber,” “we,” “our” and “us” may also refer to the appropriate Uber-
   affiliated contracting entity accordingly or Uber collectively.

   Access to our technology platform includes access to our technology application (the “Driver
   App”) that, amongst other things, facilitates P2P Service between you and Riders; as well as
   websites and all other associated services, including payment and support services, provided by
   Uber, its affiliates or third parties (collectively, our “Platform”).

   Your access to our Platform is also governed by the applicable terms found on our website,
   including without limitation, the Community Guidelines, Referral Policies, other applicable Uber
   standards and policies (including, without limitation, Uber’s safety standards, the accessibility
   policies and U.S. Service Animal Policy) and, except as provided in Section 12.9 below, any other
   agreements you have with us (including those related to how you choose to interact with our
   Platform, the services you choose to provide and where you chose to provide them)
   (collectively with this PAA, this “Agreement”), which are incorporated by reference into this
   Agreement. By accepting this Agreement, you confirm that you have read, understand and
   accept the provisions of this Agreement and intend to be bound by this Agreement. This
   Agreement is effective as of the date and time you accept it.

        1.    Relationship with Uber
              1.1.       Contracting Parties. The relationship between the parties is solely as
   independent business enterprises, each of whom operates a separate and distinct business
   enterprise that provides a service outside the usual course of business of the other. This is not
   an employment agreement and you are not an employee. You confirm the existence and
   nature of that contractual relationship each time you access our Platform. We are not hiring or
   engaging you to provide any service; you are engaging us to provide you access to our Platform.
   Nothing in this Agreement creates, will create, or is intended to create, any employment,
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   partnership, joint venture, franchise or sales representative relationship between you and us.
   You have no authority to make or accept any offers or representations on our behalf.

                1.2.       Your Choice to Provide P2P Service to Riders. We do not, and have no
   right to, direct or control you. Subject to Platform availability, you decide when, where and
   whether (a) you want to offer P2P Service facilitated by our Platform and (b) you want to
   accept, decline, ignore or cancel a Ride (defined below) request; provided, in each case, that
   you agree not to discriminate against any potential Rider in violation of the Requirements
   (defined below). Subject to your compliance with this Agreement, you are not required to
   accept any minimum number of Rides in order to access our Platform and it is entirely your
   choice whether to provide P2P Service to Riders directly, using our Platform, or using any other
   method to connect with Riders, including, but not limited to other platforms and applications in
   addition to, or instead of, ours. You understand, however, that your Riders’ experiences with
   your Rides, as determined by Rider input, may affect your ability to access our Platform or
   provide Rides.

        2.    Our Platform
              2.1.        General. While using our Driver App, you may receive lead generation
   and other technology-based services that enable those operating independent business
   enterprises like you to provide P2P Service requested by Riders (“Rides”). Subject to the terms
   and conditions of this Agreement, Uber hereby grants you a non-exclusive, non-transferable,
   non-sublicensable, non-assignable license, during the term of this Agreement, to use our
   Platform (including the Driver App) solely for the purpose of providing Rides and accessing
   services associated with providing Rides.

              2.2.          Compliance.
                            (a)     You are responsible for identifying, understanding, and complying
   with (i) all laws (including, but not limited to, the Americans with Disabilities Act and applicable
   laws governing your collection, use, disclosure, security, processing and transfer of data), rules
   and regulations that apply to your provision of Rides (including whether you are permitted to
   provide P2P Service at all) in the jurisdiction(s) in which you operate (your “Region”) and (ii) this
   Agreement (collectively, the “Requirements”). Subject to applicable law, you are responsible
   for identifying and obtaining any required license (including driver’s license), permit, or
   registration required to provide any P2P Service that you provide using our Platform.
   Notwithstanding anything to the contrary in this Agreement, for the avoidance of doubt, your
   ability to access and use our Platform is at all times subject to your compliance with the
   Requirements. You agree not to access or attempt to access our Platform if you are not in
   compliance with the Requirements.
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                            (b)    The Americans with Disabilities Act imposes obligations including
   the obligation to transport Riders with service animals and does not contain exceptions for
   allergies or religious objections. We have the right to and you consent to the permanent
   deactivation of your Driver App account and the permanent termination of your contractual
   relationship with us if, based on the evidence, we conclude that you knowingly refused a Ride
   request from a Rider with a service animal, or if we receive plausible reports from Riders of
   more than one cancellation or refusal by you alleged to be on the basis of the presence of a
   Rider’s service animal.

               2.3.        Your Provision of Transportation Services to Riders. You represent,
   warrant and covenant that (a) you have all the necessary expertise and experience to provide
   Rides in compliance with the Requirements and standards applicable to the P2P Service, (b)
   your access and use of our Platform, and provision of P2P Service, in your Region is permitted
   by the Requirements (including any age requirements), and (c) all such access and use of our
   Platform will be in compliance with the Requirements. You are responsible for, and bear all
   costs of, providing all equipment, tools and other materials that you deem necessary or
   advisable and are solely responsible for any obligations or liabilities arising from the Rides you
   provide.

              2.4.        Accessing our Platform.
                          (a)    To provide Rides you must create and register an account. All
   information you provide to us must be accurate, current and complete and you will maintain
   the accuracy and completeness of such information during the term of this Agreement. Unless
   otherwise permitted by us in writing, you agree to only possess one account for providing
   Rides. You are responsible for all activity conducted on your account. For account security and
   Rider safety purposes, you agree not to share or allow anyone to use your login credentials or
   other personal information used in connection with your account, including but not limited to
   photos of yourself, to access our Platform. If you think anyone has obtained improper access to
   your account, login credentials or personal information, you are required to notify us and to
   change your password immediately so that we may take appropriate steps to secure your
   account. You agree that Uber is not responsible for any losses arising from your sharing of
   account credentials with a third party, including without limitation phishing. You can visit
   help.uber.com for more information about securing your account.

                          (b)   You represent, warrant, and covenant that you have all required
   authority to accept and be bound by this Agreement. If you are accepting this Agreement on
   behalf of your company, entity, or organization, you represent and warrant that you are an
   authorized representative of that company, entity, or organization with the authority to bind
   such party to this Agreement.
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              2.5.        Background Checks and Licensing, Vehicle Standards.
                          (a)    During your account creation and registration, we will collect, and
   may verify, certain information about you and the vehicle(s) you use to provide Rides ( “your
   vehicle”).

                         (b)     You will also be required to pass various background, driving
   record and other checks both prior to the first time you access our Platform and from time to
   time thereafter during the term of this Agreement; these checks may be facilitated by third
   parties. You hereby authorize and instruct us to provide copies of such checks to insurance
   companies, relevant regulators and/or other governmental authorities as needed for safety or
   other reasons, as described in our Privacy Notice.

                         (c)     You agree that your vehicle will be properly registered, licensed
   and suitable to provide Rides in your Region. You represent that at all times during the
   provision of any Rides your vehicle will be in your lawful possession with valid authority to use
   your vehicle to provide Rides in your Region. You agree that your vehicle will be in safe
   operating condition, consistent with safety and maintenance standards for a vehicle of its type
   in the P2P Service industry. You agree to monitor for and repair any parts that are recalled by
   your vehicle’s manufacturer (as well as anything else the Requirements applicable to your
   particular Region may require).

              2.6.         Accepting Ride Requests.
                           (a)    Ride requests may appear in the Driver App and you may attempt
   to accept, decline or ignore them. Accepting a Ride request creates a direct business
   relationship between you and your Rider in accordance with the terms of the transportation
   service the Rider has requested through our Platform. The mechanism for accepting or
   declining Rides may vary depending on your location and the type of Ride-request you accept.
   You acknowledge upon acceptance of a Ride request, you may incur Uber fees as described in
   an applicable fare addendum to this PAA.

                         (b)     You will choose the most effective, efficient, and safe manner to
   reach the destinations associated with a Ride. Any navigational directions offered in the Driver
   App are offered for your convenience only; you have no obligation to follow such navigational
   directions. You agree to transport Riders, or their guests, directly to their specified destination,
   as directed by the applicable person, without unauthorized interruption or unauthorized stops.

                          (c)    You may receive Rider information, including approximate pickup
   location, and you agree that your Rider may also be given identifying information about you,
   including your first name, photo, location, vehicle information, and certain other information
   you have voluntarily provided through the Driver App (collectively, “User Information”).
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   Without a Rider’s consent, you agree to not contact any Rider or otherwise use any of the
   Rider’s User Information except solely in connection with the provision of Rides to that Rider.
   You agree to treat all Rider User Information as Confidential Information (defined below)
   received by you under this Agreement. You acknowledge that your violation of your
   confidentiality obligations may also violate certain laws and could result in civil or criminal
   penalties.

              2.7.          Use of Uber Branded Materials.
                            (a)     Except to the extent necessary to comply with applicable law, you
   are not required to use, wear or display Uber’s name or logo on your vehicle or clothing, or to
   use signaling lights, stickers, decals, or other such materials displaying Uber’s name or logo
   (collectively “Uber Branded Materials”).

                           (b)     Your authorized display of Uber Branded Materials may signify to
   Riders that your P2P Service is facilitated by our Platform. Uber grants you a limited license to
   use, wear, or display Uber Branded Materials provided directly to you by Uber (“Authorized
   Uber Branded Materials”) when providing Rides solely for the purpose of identifying yourself
   and your vehicle to Riders as someone selling P2P Service facilitated by our Platform. You agree
   not to (i) use, wear, or display Uber-Branded Materials that are not Authorized Uber Branded
   Materials (ii) purchase, accept, offer to sell, sell or otherwise transfer Uber Branded Materials
   that are not Authorized Uber Branded Materials or (iii) offer to sell or sell, or otherwise transfer
   Authorized Uber Branded Materials, without Uber’s prior written permission.

                          (c)   The parties expressly agree that your access to, or use of, Uber
   Branded Materials, whether or not authorized, does not indicate an employment or other
   similar relationship between you and us. You further agree not to represent yourself as our
   employee, representative or agent for any purpose or otherwise misrepresent your relationship
   with us.

              2.8.        Crashes, Criminal Offenses, and Other Compliance Obligations. For the
   purpose of assisting us with our compliance and insurance obligations, you agree to notify us
   within 24 hours and provide us with all reasonable information relating to any incident
   (including any crash involving your vehicle) that occurs during your provision of a Ride and you
   agree to cooperate with any investigation and attempted resolution of such incident.
   Additionally, you agree to notify us within 24 hours if you are arrested for, charged with, or
   convicted of a criminal offense, for Platform eligibility consideration.

              2.9.      Ratings. Your Rider may be asked to comment on your services, and you
   may be asked to comment on your Rider. These comments can include star or other ratings
   and other feedback (collectively, “Ratings”), which we ask all parties to provide in good faith.
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   Ratings are not confidential and you hereby authorize our use, distribution and display of your
   Ratings (and Ratings about you) as provided in our Privacy Notice, without attribution or further
   approval. We have no obligation to verify Ratings or their accuracy, and may remove them
   from our Platform in accordance with the standards in our Community Guidelines. You can find
   out more about Ratings and how they may affect your ability to access our Platform by visiting
   our website.

             2.10.         Location Based Technology Services; Communication Consents.
                           (a)    Your device geo-location information is required for the proper
   functioning of our Platform, and you agree to not take any action to manipulate or falsify your
   device geo-location. You grant us the irrevocable right to obtain your geo-location information
   and to share your location with third parties, including your Riders, who will see the
   approximate location of your vehicle in the Rider app before and during their Ride. We may not
   and will not use this information to attempt to supervise, direct, or control you or your
   provision of Rides.

                          (b)   You agree that we may contact you by email, telephone or text
   message (including by an automatic telephone dialing system) at any of the phone numbers
   provided by you, or on your behalf, in connection with your account. You also understand that
   you may opt out of receiving text messages from us at any time, either by replying “STOP” or
   texting the word “STOP” to 89203 using the mobile device that is receiving the messages, or by
   contacting us at help.uber.com. Notwithstanding the foregoing, we may also contact you by
   any of the above means, including by SMS, in case of suspected fraud or unlawful activity by
   your or on your account.

        3.      Insurance
               3.1.       Your Auto Liability Insurance for P2P Service. You will maintain
   automobile liability insurance on your vehicle that provides protection against bodily injury and
   property damage to third parties at coverage levels that satisfy the minimum requirements to
   operate a vehicle on public roads wherever you use your vehicle. You must be listed as an
   insured or a driver on your automobile liability insurance. You will provide us with a copy of the
   insurance policy, policy declarations, proof of insurance identification card and proof of
   premium payment for your policy, as well as copies of the same upon renewal. You will notify
   us in writing immediately if the policy you have is cancelled.

              3.2.       Limitations on Your Personal Insurance. You understand that while you
   are providing P2P Service your personal automobile insurance policy may not afford liability,
   comprehensive, collision, medical payments, personal injury protection, uninsured motorist,
   underinsured motorist, or other coverage for you. If you have any questions or concerns about
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   the scope or applicability of your own insurance coverage, it is your responsibility to resolve
   them with your insurer.

              3.3.        Your Other Insurance for P2P Service. You will maintain workers’
   compensation insurance if it is required by applicable law. If allowed by applicable law, you can
   insure yourself against industrial injuries by maintaining occupational accident insurance in
   place of workers’ compensation insurance (and it is at your own risk if you decide not to).

               3.4.       Uber Maintained Insurance. We may, in our sole discretion, choose to
   maintain auto insurance related to your Rides, but we are not required to provide you with any
   specific coverage for loss to you or your vehicle, unless we specifically describe it in an
   addendum to this PAA. We can change, reduce or cancel insurance that is maintained by us, if
   any, at any time without notice to you or authorization from you.

        4.    Payments
              4.1.        Instant Pay.
                          (a)    Eligibility for Instant Pay. You must have a valid and active debit
   card issued in your name to use Instant Pay. Your ability to use Instant Pay is dependent upon
   your debit card’s acceptance of fast funds; not all debit cards are eligible to accept fast funds,
   and the card’s issuing bank may choose at any time to disable the acceptance of fast funds or
   enable restrictions. Certain users may not be eligible for Instant Pay, including users that access
   our vehicle solutions programs, users who are members of a fleet, and those who are subject to
   garnishments. Your use of Instant Pay may be subject to additional restrictions and fees; more
   information may be found on our Instant Pay website.

                          (b)     Availability of Instant Pay. We are not able to ensure that all
   payments are deposited instantly. The speed at which you receive payments will depend on
   your bank and other factors. If your bank rejects a payment, or it fails in our system, the entire
   amount available for cashout in your account will be routed to your regular bank account at
   vault.uber.com, and you will receive the payment typically 1-3 business days later. Any Instant
   Pay funds not cashed out by 4AM (Local time) on Mondays, or the time we identify, which may
   be subject to change, will be routed to your regular bank account at vault.uber.com. If you do
   not have access to Instant Pay, you will continue to receive payments as described in this
   addendum via direct deposit, provided we have your correct banking information. We are not
   responsible for any fees from your bank in association with your use of Instant Pay. We reserve
   the right to block access to Instant Pay at any time for any reason, including for improper use of
   our Platform, account investigation, deactivation, or further review of Rides completed.

                          (c)    Third-Party Provider. The Instant Pay functionality is facilitated
   by a third-party provider of payments services. By using Instant Pay, you are subject to any
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   additional terms and conditions for payment imposed by the third-party provider, which we
   recommend you review.

              4.2.      Payment terms, fare calculations and payment methods are described in
   a separate fare addendum, which shall form part of this Agreement.

        5.    Term and Termination; Effect; Survival
              5.1.        Term. This Agreement is effective as of the date and time you accept it
   and will continue until terminated by you or us.

              5.2.       Termination by You. You may terminate this Agreement (a) without
   cause at any time upon seven (7) days’ prior written notice to Uber; and (b) immediately,
   without notice for Uber’s violation or alleged violation of a material provision of this
   Agreement. You can find out more about how to delete your account by navigating to
   help.uber.com.

              5.3.          Deactivation. You consent to and we may temporarily deactivate your
   account without notice to investigate whether you have engaged in, or your account has been
   used in, activity that is deceptive, fraudulent, unsafe, illegal, harmful to our brand, business or
   reputation, or that violates this Agreement (including the policies incorporated herein by
   reference)(any of the foregoing, a “Material Breach or Violation”). You also consent to and we
   may terminate this Agreement or permanently deactivate your account without notice if we
   determine in our discretion that a Material Breach or Violation has occurred.

              5.4.        Effect of Termination and Survival. Upon termination, each party will
   remain responsible for its respective liabilities or obligations that accrued before or as a result
   of such termination. Once the Agreement is terminated you will no longer access our Platform
   to provide Rides. You agree to use commercially reasonable efforts to return any Uber Branded
   Materials, but excluding promotional materials, to an Uber Greenlight Hub or destroy them.
   Sections 1, 2.7, 2.10(b), 4, 5.5, 6-9, 12 and 13 shall survive any termination or expiration of this
   Agreement.

        6.    DISCLAIMERS
             6.1.      WE PROVIDE OUR PLATFORM AND ANY ADDITIONAL PRODUCTS OR
   SERVICES “AS IS” AND “AS AVAILABLE,” WITHOUT GUARANTEE OR WARRANTY OF ANY KIND,
   AND YOUR ACCESS TO OUR PLATFORM IS NOT GUARANTEED TO RESULT IN ANY RIDE
   REQUESTS. WE DO NOT WARRANT THAT OUR PLATFORM WILL BE ACCURATE, COMPLETE,
   RELIABLE, CURRENT, SECURE, UNINTERRUPTED, ALWAYS AVAILABLE, OR ERROR- FREE, OR WILL
   MEET YOUR REQUIREMENTS, THAT ANY DEFECTS WILL BE CORRECTED, THAT OUR
   TECHNOLOGY IS FREE OF VIRUSES OR OTHER HARMFUL COMPONENTS. WE WILL NOT BE
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   LIABLE FOR ANY SERVICE INTERRUPTIONS OR LOSSES RESULTING FROM SERVICE
   INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER
   INTERRUPTIONS THAT MAY AFFECT YOUR ACCESS TO OUR PLATFORM.

            6.2.      WE PROVIDE LEAD GENERATION AND RELATED SERVICES ONLY, AND
   MAKE NO REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO THE ACTIONS OR
   INACTIONS OF THE RIDERS WHO MAY REQUEST OR ACTUALLY RECEIVE RIDES FROM YOU. WE
   DO NOT SCREEN OR EVALUATE THESE RIDERS. SOME JURISDICTIONS PROVIDE FOR CERTAIN
   WARRANTIES, SUCH AS THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
   PARTICULAR PURPOSE, ACCURACY, AVAILABILITY, SAFETY, SECURITY, AND NON-
   INFRINGEMENT. WE EXCLUDE ALL WARRANTIES TO THE EXTENT THOSE REGULATIONS ALLOW.

             6.3.     IF A DISPUTE ARISES BETWEEN YOU AND YOUR RIDERS OR ANY OTHER
   THIRD PARTY, YOU RELEASE US FROM LOSSES OF EVERY KIND AND NATURE, KNOWN AND
   UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND UNDISCLOSED, ARISING OUT OF
   OR IN ANY WAY CONNECTED WITH SUCH DISPUTES.

            6.4.      WE MAY USE ALGORITHMS IN AN ATTEMPT TO FACILITATE RIDES AND
   IMPROVE THE: EXPERIENCE OF USERS AND THE SECURITY AND SAFETY OF OUR PLATFORM; ANY
   SUCH USE DOES NOT CONSTITUTE A GUARANTEE OR WARRANTY OF ANY KIND, EXPRESSED OR
   IMPLIED.

        7.     Information
   We may collect and disclose information from or about you when you create an account,
   interact with our Platform or provide Rides and as otherwise described in our Privacy Notice.
   Notwithstanding anything herein to the contrary (a) the collection, use, and disclosure of such
   information will be made in accordance with our Privacy Notice and (b) if you elect to provide
   or make available suggestions, comments, ideas, improvements, or other feedback or materials
   to us in connection with, or related to, us or our Platform, we will be free to use, disclose,
   reproduce, modify, license, transfer and otherwise distribute, and exploit any of the foregoing
   information or materials in any manner.
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        8.      Confidentiality
               8.1.        Confidential Information. Each party acknowledges and agrees that in
   the performance of this Agreement it may have access to or may be exposed to, directly or
   indirectly, confidential information of the other party or third parties (“Confidential
   Information”). Confidential Information includes Rider User Information and the transportation
   volume, marketing and business plans, business, financial, technical, operational and such
   other, non-public information of each party (whether disclosed in writing or verbally) that such
   party designates as being proprietary or confidential or of which the other party should
   reasonably know that it should be treated as confidential. Confidential Information does not
   include any information that: (a) was in the receiving party’s lawful possession prior to the
   disclosure, as clearly and convincingly corroborated by written records, and had not been
   obtained by the receiving party either directly or indirectly from the disclosing party; (b) is
   lawfully disclosed to the receiving party by a third party without actual, implied or intended
   restriction on disclosure through the chain of possession, or (c) is independently developed by
   the receiving party without the use of or access to the Confidential Information, as clearly and
   convincingly corroborated by written records.

              8.2.         Obligations. Each party acknowledges and agrees that: (a) all
   Confidential Information shall remain the exclusive property of the disclosing party; (b) it shall
   not use Confidential Information of the other party for any purpose except in furtherance of
   this Agreement; (c) it shall not disclose Confidential Information of the other party to any third-
   party, except to its employees, officers, contractors, agents and service providers ("Permitted
   Persons") as necessary to perform their obligations under this Agreement, provided Permitted
   Persons are bound in writing to obligations of confidentiality and non-use of Confidential
   Information no less protective than the terms hereof; and (d) it shall return or destroy all
   Confidential Information of the disclosing party, upon the termination of this Agreement or at
   the request of the other party; subject to applicable law and our internal record-keeping
   requirements.

               8.3.        Remedies. The unauthorized use or disclosure of any Confidential
   Information would cause irreparable harm and significant damages, the degree of which may
   be difficult to ascertain. Accordingly, the parties have the right to obtain immediate equitable
   relief to enjoin any unauthorized use or disclosure of Confidential Information disclosed by the
   other party, in addition to any other rights or remedies described in Section 13, applicable law
   or otherwise.

        9.    Intellectual Property
   We reserve all rights not expressly granted in this Agreement. The Driver App, our Platform,
   and all data gathered through our Platform, including all intellectual property rights therein (the
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   “Platform IP”), are and remain our property and/or that of our licensors, as applicable. Neither
   this Agreement nor your use of Uber’s or our licensors’ company names, logos, products or
   service names, trademarks, service marks, trade dress, other indicia of ownership, or copyrights
   (“Uber Names, Marks, or Works”) or the Platform IP conveys or grants to you any rights in or
   related to the Platform IP, or related intellectual property rights, including Uber’s Names,
   Marks, or Works, except for the limited license granted above. You shall not, and shall not
   allow any other party to: (a) license, sublicense, copy, modify, distribute, create, sell, resell,
   transfer, or lease any part of the Platform IP or Authorized Uber-Branded Materials; (b) reverse
   engineer or attempt to extract the source code of our software, except as allowed under law;
   (c) use, display, or manipulate any of Uber Names, Marks, or Works for any purpose other than
   to provide Rides; (d) create or register any (i) businesses, (ii) URLs, (iii) domain names, (iv)
   software application names or titles, or (v) social media handles or profiles that include Uber
   Names, Marks, or Works or any confusingly or substantially similar mark, name, title, or work;
   (e) use Uber Names, Marks, or Works as your social media profile picture or wallpaper; (f)
   purchase keywords (including, but not limited to Google AdWords) that contain any Uber
   Names, Marks, or Works; (g) apply to register, reference, use, copy, and/or claim ownership in
   Uber’s Names, Marks, or Works, or in any confusingly or substantially similar name, mark, title,
   or work, in any manner for any purposes, alone or in combination with other letters,
   punctuation, words, symbols, designs, and/or any creative works, except as may be permitted
   in the limited license granted above; (h) cause or launch any programs or scripts for the
   purpose of scraping, indexing, surveying, or otherwise data mining any part of our Platform or
   data; or (i) aggregate Uber’s data with competitors’.

      10.      Third-Party Services
   From time to time we may permit third parties to offer their services to users of our Platform.
   Third-party services may be subject to additional terms (including pricing) that apply between
   you and the party(ies) providing such services. If you choose to access the third-party services
   you understand that the providers of the third-party services are solely responsible for liabilities
   arising in connection with the access and use of such third-party services. While we may allow
   users to access such services through our Platform and we may collect information about our
   users’ use of such services, we may not investigate, monitor or check such third-party services
   for accuracy or completeness.

      11.    Termination of Prior Agreements
            11.1.        Prior TSA. This Section 11 only applies if you were a party to an effective
   technology services agreement (a “Prior Agreement”) with Uber immediately prior to your
   acceptance of this Agreement. Except as provided in Sections 11.2 and 13 below, you and Uber
   hereby terminate your Prior Agreement (except as provided in the survival provision of such
   agreement) and the Deprecated Documents (defined below)(collectively, “Prior Documents”),
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   effective as of your acceptance of this Agreement. The parties, respectively, hereby waive any
   applicable notice requirements with respect to their termination of the Prior Documents.

             11.2.       Other Agreements. Notwithstanding the termination of your Prior
   Documents, you hereby (a) ratify, assume and confirm your obligations under any supplements
   or addenda, except those that are no longer required by the Requirements or applicable to your
   provision of P2P Service (“Deprecated Documents”), accepted in connection with your Prior
   Agreement that are not expressly superseded by this PAA or documents accepted in connection
   with the acceptance of this PAA, with such changes as may be required to effectuate the
   foregoing (“Continuing Documents”) and (b) acknowledge and agree that as of your acceptance
   of this Agreement such Continuing Documents are incorporated by reference and form a part
   of this Agreement. We hereby ratify, assume and confirm our obligations under such
   Continuing Documents.

      12.      Miscellaneous
             12.1.       Modification. You will only be bound by modifications or supplements to
   this PAA on your acceptance, but if you do not agree to them, you may not be allowed to access
   our Platform. Such modifications or supplements may be provided to you only via electronic
   means. From time to time we may modify information hyperlinked in this PAA (or the
   addresses where such information may be found) and such modifications shall be effective
   when posted.

              12.2.        Severability. Invalidity of any provision of this Agreement does not affect
   the rest of this Agreement. The parties shall replace the invalid or non-binding provision with
   provision(s) that are valid and binding and that have, to the greatest extent possible, a similar
   effect as the invalid or non-binding provision, given the contents and purpose of this
   Agreement.

             12.3.        Assignment. We may freely assign or transfer this Agreement or any of
   our rights or obligations in them, in whole or in part, without your prior consent. You agree not
   to assign this Agreement, in whole or in part, without our prior written consent, and any
   attempted assignment without such consent is void.

             12.4.         Conflicts. Except with respect to the Arbitration Provision, if there is a
   conflict between this PAA and any supplemental terms between you and us, those
   supplemental terms will prevail with respect to the specific conflict if explicitly provided
   therein, and is in addition to, and a part of, this Agreement.

             12.5.        Interpretation. In this Agreement, “including” and “include” mean
   “including, but not limited to.”
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             12.6.        Notice. Except as explicitly stated otherwise, any notices to us shall be
   given by certified mail, postage prepaid and return receipt requested to Uber Technologies,
   Inc., 1455 Market Street, Fourth Floor San Francisco, CA 94103, Attn: Legal Department. All
   notices to you may be provided electronically including through our Platform or by other
   means.

             12.7.         Governing Law. Except as specifically provided in this PAA, this PAA is
   governed by the applicable law of the state where you reside (or where your entity is
   domiciled) when you accepted this PAA (the “Governing Law”). The Governing Law shall apply
   without reference to the choice-of-law principles that would result in the application of the
   laws of a different jurisdiction.

             12.8.        Entire Agreement. Except as specifically set forth in Section 12.4 or the
   Arbitration Provision, this Agreement, constitutes the entire agreement and understanding with
   respect to the subject matter expressly contemplated herein and therein, and supersedes all
   prior or contemporaneous agreements or undertakings on this subject matter.

            12.9.       No Incorporation. Notwithstanding anything herein to the contrary, no
   agreement, term or other provision relating to your indemnification obligations to us will be
   considered incorporated by reference, or otherwise a part of, this Agreement.

           12.10.         Existing Documents. Defined terms in documents accepted in
   connection with your acceptance of this Agreement that reference a technology services
   agreement shall be deemed amended to reference analogous terms defined in this Agreement,
   including by replacing the term “Technology Services Agreement” with “Platform Access
   Agreement”.

            12.11.        Questions. If you have questions about our Platform, you may contact us
   by logging on to drivers.uber.com and navigating to the “Contact Us” section.

      13.      Arbitration Provision
   IMPORTANT: PLEASE REVIEW THIS ARBITRATION PROVISION CAREFULLY, AS IT WILL REQUIRE
   YOU TO RESOLVE DISPUTES WITH US ON AN INDIVIDUAL BASIS THROUGH FINAL AND BINDING
   ARBITRATION, EXCEPT AS PROVIDED BELOW. YOU MAY CHOOSE TO OPT OUT OF THIS
   ARBITRATION PROVISION BY FOLLOWING THE BELOW INSTRUCTIONS. THERE ARE AND/OR
   MAY BE LAWSUITS ALLEGING CLASS, COLLECTIVE OR REPRESENTATIVE CLAIMS ON YOUR
   BEHALF AGAINST US. IF YOU DO NOT OPT OUT OF THIS ARBITRATION PROVISION AND
   THEREFORE AGREE TO ARBITRATION WITH US, YOU ARE AGREEING IN ADVANCE, EXCEPT AS
   OTHERWISE PROVIDED BELOW, THAT YOU WILL NOT PARTICIPATE IN AND, THEREFORE, WILL
   NOT SEEK OR BE ELIGIBLE TO RECOVER MONETARY OR OTHER RELIEF IN CONNECTION WITH,
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   ANY SUCH CLASS, COLLECTIVE OR REPRESENTATIVE LAWSUIT. THIS ARBITRATION PROVISION,
   HOWEVER, WILL ALLOW YOU TO BRING INDIVIDUAL CLAIMS IN ARBITRATION ON YOUR OWN
   BEHALF.

             13.1.         How This Arbitration Provision Applies.
                           (a)     This Arbitration Provision is a contract governed by the Federal
   Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a transaction involving commerce, and you
   agree that this is not a contract of employment involving any class of workers engaged in
   foreign or interstate commerce within the meaning of Section 1 of the Federal Arbitration Act.
   If notwithstanding the foregoing, the Federal Arbitration Act does not apply to this Arbitration
   Provision, the law pertaining to arbitration agreements of the state where you reside when you
   entered into this Agreement shall apply. Except as it otherwise provides, this Arbitration
   Provision applies to any legal dispute, past, present or future, arising out of or related to your
   relationship with us or relationship with any of our agents, employees, executives, officers,
   investors, shareholders, affiliates, successors, assigns, subsidiaries or parent companies (each of
   which may enforce this Arbitration Provision as third party beneficiaries), and termination of
   that relationship, and survives after the relationship terminates.

                           (b)    This Arbitration Provision applies to all claims whether brought by
   you or us, except as provided below. This Arbitration Provision requires all such claims to be
   resolved only by an arbitrator through final and binding individual arbitration and not by way of
   court or jury trial. Except as provided below regarding the Class Action Waiver and
   Representative Action Waiver, such disputes include without limitation disputes arising out of
   or relating to interpretation or application of this Arbitration Provision, including the formation,
   scope, enforceability, waiver, applicability, revocability or validity of this Arbitration Provision
   or any portion of this Arbitration Provision.

                           (c)     Except as it otherwise provides, this Arbitration Provision also
   applies, without limitation, to disputes between you and us, or between you and any other
   entity or individual, arising out of or related to your application for and use of an account to use
   our Platform and Driver App as a driver, background checks, your privacy, your contractual
   relationship with us or the termination of that relationship (including post-relationship
   defamation or retaliation claims), the nature of your relationship with us (including, but not
   limited to, any claim that you are our employee), trade secrets, workplace safety and health,
   unfair competition, compensation, minimum wage, expense reimbursement, overtime, breaks
   and rest periods, retaliation, discrimination, or harassment and claims arising under the
   Telephone Consumer Protection Act, Fair Credit Reporting Act, Title VII of the Civil Rights Act of
   1964, 42 U.S.C. § 1981, 8 U.S.C. § 1324b (unfair immigration related practices), Americans With
   Disabilities Act, Age Discrimination in Employment Act, Fair Labor Standards Act, Worker
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   Adjustment and Retraining Notification Act, Older Workers Benefits Protection Act of 1990,
   Occupational Safety and Health Act, Consolidated Omnibus Budget Reconciliation Act of 1985,
   federal, state or local statutes or regulations addressing the same or similar subject matters,
   and all other federal, state, or local statutory, common law and legal claims (including without
   limitation, torts) arising out of or relating to your relationship with us or the termination of that
   relationship.

             13.2.          Limitations On How This Arbitration Provision Applies.
                            (a)    Nothing in this Arbitration Provision prevents you from making a
   report to or filing a claim or charge with a government agency, including without limitation the
   Equal Employment Opportunity Commission, U.S. Department of Labor, U.S. Securities and
   Exchange Commission, National Labor Relations Board, or Office of Federal Contract
   Compliance Programs. This Arbitration Provision also does not prevent federal administrative
   agencies from adjudicating claims and awarding remedies based on those claims, even if the
   claims would otherwise be covered by this Arbitration Provision.

                          (b)     Where you allege claims of sexual assault or sexual harassment,
   you may elect to bring those claims in a court of competent jurisdiction instead of arbitration.
   We agree to honor your election of forum with respect to your individual sexual harassment or
   sexual assault claim but in so doing does not waive the enforceability of this Arbitration
   Provision as to any other provision (including but not limited to Section 13.4—Class Action
   Waiver, which will continue to apply in court and arbitration), controversy, claim or dispute.

                          (c)     To the extent an Act of Congress or applicable federal law not
   preempted by the Federal Arbitration Act provides that a particular claim or dispute may not be
   subject to pre-dispute arbitration, such claim or dispute is excluded from the coverage of this
   Arbitration Provision. Likewise, if the Federal Arbitration Act does not apply to a claim or
   dispute, any claims or disputes that may not be subject to pre-dispute arbitration under
   applicable state arbitration law will be excluded from the coverage of this Arbitration Provision.

                           (d)     Impact on Pending Litigation: This Arbitration Provision shall not
   affect your standing with respect to any litigation against us brought by you or on your behalf
   that is pending in a state or federal court or arbitration as of the date of your receipt of this
   Arbitration Provision (“pending litigation”). Therefore:

                            ●     If you are or previously were a driver authorized to use our
                                  Platform and Driver App, and at the time of your receipt of this
                                  Agreement you were not bound by an existing arbitration
                                  agreement with us, you shall remain eligible to participate in any
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                                 ending litigation to which you were a party or putative class,
                                 collective or representative action member regardless of whether
                                 you opt out of this Arbitration Provision.

                            ●    If, at the time of your receipt of this Agreement, you were bound
                                 by an existing arbitration agreement with us, that arbitration
                                 agreement will continue to apply to any pending litigation, even if
                                 you opt out of this Arbitration Provision.

                            ●    If, at the time of your receipt of this Agreement, you were not
                                 previously a driver authorized to use our Platform and Driver App,
                                 then this Arbitration Provision will apply to covered claims and
                                 any pending litigation unless you opt out of this Arbitration
                                 Provision as provided below.

             13.3.         Governing Rules, Starting The Arbitration, And Selecting The Arbitrator.
                           (a)     The JAMS Comprehensive Arbitration Rules & Procedures (“JAMS
   Rules”) will apply to arbitration under this Arbitration Provision; however, if there is a conflict
   between the JAMS Rules and this Arbitration Provision, this Arbitration Provision shall govern.
   The JAMS Rules are available by, for example, searching Google.com, to locate “JAMS
   Comprehensive Arbitration Rules” or by clicking here: https://www.jamsadr.com/rules-
   comprehensive-arbitration/.

                          (b)      Prior to commencing arbitration with JAMS, the party bringing the
   claim in arbitration must first demand arbitration in writing within the applicable statute of
   limitations period. The demand for arbitration shall include identification of the parties, a
   statement of the legal and factual basis of the claim(s), and a specification of the remedy
   sought and the amount in controversy. Any demand for arbitration made to us shall be served
   upon Uber’s registered agent for service of process (CT Corporation, 818 West Seventh Street,
   Suite 930, Los Angeles, California 90017). Any demand for arbitration made to you shall be sent
   via electronic email to the email address associated with your driver account.

                           (c)      Before the arbitration demand is submitted to JAMS, the party
   bringing the claim shall first attempt to informally negotiate with the other party, in good faith,
   a resolution of the dispute, claim or controversy between the parties for a period of not less
   than 30 days but no more than 45 days (“negotiation period”) unless extended by mutual
   agreement of the parties. During the negotiation period, any otherwise applicable statute of
   limitations shall be tolled. If the parties cannot reach an agreement to resolve the dispute,
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   claim or controversy within the negotiation period, the party bringing the claim shall submit the
   arbitration demand to JAMS.

                            (d)    To commence arbitration, the party bringing the claim must: (1)
   submit the arbitration demand to JAMS, and (2) pay its, his or her portion of any initial
   arbitration filing fee (see Section 13.6, below).

                          (e)      During the negotiation period, the party bringing the claim shall
   also make a good faith effort to meet and confer with the other party regarding the selection of
   an Arbitrator. If the parties reach agreement on an Arbitrator not affiliated with JAMS or to use
   procedures either not specified in the JAMS Rules or in lieu of the JAMS Rules, any such
   agreement shall be memorialized in writing before arbitration is commenced.

                          (f)     Delivering a written arbitration demand to the other party will not
   relieve the party bringing the claim of the obligation to commence arbitration as described
   above. It shall always be the obligation of the party bringing the claim to commence
   arbitration.

                          (g)     If, for any reason, the parties cannot agree to an Arbitrator or
   JAMS will not administer the arbitration, either party may apply to a court of competent
   jurisdiction with authority over the location where the arbitration will be conducted for
   appointment of a neutral Arbitrator. The location of the arbitration shall be no more than 45
   miles from and in the same state where you last used our Platform and Driver App as a driver,
   unless each party to the arbitration agrees in writing otherwise.

                         (h)      All claims in arbitration are subject to the same statutes of
   limitation that would apply in court. The Arbitrator shall resolve all disputes regarding the
   timeliness or propriety of the demand for arbitration.

              13.4.        Class Action Waiver. This Arbitration Provision affects your ability to
   participate in class or collective actions. Both Uber and you agree to bring any dispute in
   arbitration on an individual basis only, and not on a class or collective basis on behalf of others.
   There will be no right or authority for any dispute to be brought, heard or arbitrated as a class
   or collective action, or for you to participate as a member in any such class or collective
   proceeding (“Class Action Waiver”). Notwithstanding any other provision of this Arbitration
   Provision or the JAMS Rules, disputes in court or arbitration regarding the validity,
   enforceability, conscionability or breach of the Class Action Waiver, or whether the Class Action
   Waiver is void or voidable, may be resolved only by the court and not by an arbitrator. In any
   case in which (1) the dispute is filed as a class or collective action and (2) there is a final judicial
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   determination that all or part of the Class Action Waiver is unenforceable, the class or collective
   action to that extent must be litigated in a civil court of competent jurisdiction, but the portion
   of the Class Action Waiver that is enforceable shall be enforced in arbitration.

             13.5.        Representative Action Waiver.
                          (a)     This Arbitration Provision affects your ability to participate in
   representative actions. To the maximum extent provided by law, both Uber and you agree to
   bring any dispute in arbitration on an individual basis only, and not on a representative basis—
   including but not limited to as a private attorney general representative under the California
   Labor Code—on behalf of others. There will be no right or authority for any dispute to be
   brought, heard or arbitrated as a representative action, or for you to participate as a member in
   any such representative proceeding (“Representative Action Waiver”). Notwithstanding any
   other provision of this Arbitration Provision or the JAMS Rules, disputes in court or arbitration
   regarding the validity, enforceability, conscionability or breach of the Representative Action
   Waiver, or whether the Representative Action Waiver is void or voidable, may be resolved only
   by the court and not by an arbitrator. If any portion of this Representative Action Waiver is
   found to be unenforceable or unlawful for any reason (1) any representative claims subject to
   the unenforceable or unlawful portion(s) shall proceed in a civil court of competent jurisdiction;
   (2) the portion of the Representative Action Waiver that is enforceable shall be enforced in
   arbitration; (3) the unenforceable or unlawful provision shall be severed from this Agreement;
   and (4) severance of the unenforceable or unlawful provision shall have no impact whatsoever
   on the Arbitration Provision or the arbitrability of any remaining claims asserted by you or us.

                           (b)     Disputes regarding the nature of your relationship with us
   (including, but not limited to, any claim that you are an employee of us), as well as any claim
   you bring on your own behalf as an aggrieved worker for recovery of underpaid wages or other
   individualized relief (as opposed to a representative claim for civil penalties) are arbitrable and
   must be brought in arbitration on an individual basis only as required by this Arbitration
   Provision. You agree that any representative claim that is permitted to proceed in a civil court
   of competent jurisdiction must be stayed pending the arbitration of your dispute regarding the
   nature of your relationship with us and any claim you bring on your own behalf for
   individualized relief.

             13.6.         Paying For The Arbitration.
                           (a)    Except in the case of offers of judgment (such as under Federal
   Rule of Civil Procedure 68 or any applicable state equivalents), each party will pay the fees for
   its, his or her own attorneys and any costs that are not unique to arbitration, subject to any
   remedies to which that party may later be entitled under applicable law.
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                            (b)    Each party shall follow the JAMS Rules applicable to initial
   arbitration filing fees, except that your portion of any initial arbitration filing fee shall not
   exceed the amount you would be required to pay to initiate a lawsuit in federal court in the
   jurisdiction where the arbitration will be conducted. After (and only after) you have paid your
   portion of any initial arbitration filing fee, we will make up the difference, if any, between the
   fee you have paid and the amount required by the JAMS Rules.

                            (c)    In all cases where required by law, we will pay the Arbitrator's
   fees, as well as all fees and costs unique to arbitration. Otherwise, such fee(s) will be
   apportioned between the parties in accordance with said applicable law, and any disputes in
   that regard will be resolved by the Arbitrator. You agree to not oppose any negotiations
   between JAMS and Uber relating only to our fees.

              13.7.        The Arbitration Hearing And Award. Within 30 days of the close of the
   arbitration hearing, any party will have the right to prepare, serve on the other party and file
   with the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party
   is entitled under applicable law, but such remedies shall be limited to those that would be
   available to a party in his or her individual capacity in a court of law for the claims presented to
   and decided by the Arbitrator. The Arbitrator shall apply applicable controlling law and will
   issue a decision or award in writing, stating the essential findings of fact and conclusions of law.
   A court of competent jurisdiction shall have the authority to enter a judgment upon the award
   made pursuant to the arbitration.

             13.8.         Your Right To Opt Out Of This Arbitration Provision
                           (a)     Agreeing to this Arbitration Provision is not a mandatory
   condition of your contractual relationship with us. If you do not want to be subject to this
   Arbitration Provision, you may opt out of this Arbitration Provision (subject to the pending
   litigation provision in Section 13.2, and the limitations set forth in this Section 13.8). To do so,
   within 30 days of the date that this Agreement is electronically accepted by you, you must
   send an electronic email from the email address associated with your driver account to
   optout@uber.com, stating your intent to opt out of this Arbitration Provision, as well as your
   name, the phone number associated with your driver account, and the city in which you
   reside.

                           (b)    An email sent by your agent or representative (including your
   counsel) shall not be effective. Your email may opt out yourself only, and any email that
   purports to opt out anyone other than yourself shall be void as to any others. Should you not
   opt out of this Arbitration Provision within the 30-day period, you and Uber shall be bound by
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   the terms of this Arbitration Provision. You will not be subject to retaliation if you exercise
   your right to opt out of this Arbitration Provision.

                          (c)     If you opt out of this Arbitration Provision and at the time of
   your receipt of this Agreement you were bound by an existing agreement to arbitrate
   disputes arising out of or related to your use of our Platform and Driver App, that existing
   arbitration agreement will remain in full force and effect.

                           (d)     Neither your acceptance of this Agreement nor your decision to
   opt out of this Arbitration Provision will affect any obligation you have to arbitrate disputes
   not specified in this Arbitration Provision pursuant to any other agreement you have with us
   or any of our subsidiaries or affiliate entities. Likewise, your acceptance of or decision to opt
   out of any other arbitration agreement you have with us or any of our subsidiaries or affiliate
   entities shall not affect any obligation you have to arbitrate claims pursuant to this Arbitration
   Provision.

              13.9.        Enforcement Of This Arbitration Provision. You have the right to consult
   with counsel of your choice concerning this Arbitration Provision and to be represented by
   counsel at any stage during the arbitration process. Except as provided in Sections 13.2 and
   13.8 of this Arbitration Provision, this Arbitration Provision replaces prior agreements regarding
   the arbitration of disputes and is the full and complete agreement relating to the formal
   resolution of disputes covered by this Arbitration Provision. In the event any portion of this
   Arbitration Provision is deemed unenforceable, the remainder of this Arbitration Provision will
   be enforceable. This Arbitration Provision will survive the termination of your relationship with
   us, and it will continue to apply if your relationship with us is ended but later renewed.




       By clicking “Yes, I agree,” I expressly acknowledge that I have read, understood, and
   considered the consequences of this Agreement, that I agree to be bound by the terms of this
       Agreement, and that I am legally competent to enter into this Agreement with Uber.
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Exhibit F: Michael Faith Agreement
        Acceptance Record
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 Driver First Name    Driver Last    Date Accepted                          Reg Doc Title                                                                   Reg Doc URL
                         Name       Agreements (UTC)
Michael              Faith               7/3/2017 21:27 Service Animal Acknowledgement ‐ Feb 10 2017           https://uber‐regulatory‐
                                                                                                               documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Service%20Animal%20Acknowledgement%20‐
                                                                                                               %20Feb%2010%202017.pdf
Michael              Faith               7/3/2017 21:27 RASIER Technology Services Agreement June 17 2017 https://uber‐regulatory‐
                                                                                                               documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/RASIER%20Technology%20Services%20Agreement%20J
                                                                                                               une%2017%202017%20‐%20NY%20suburbs.pdf
Michael              Faith               7/3/2017 21:27 RASIER Financial Terms Addendum June 17 2017           https://uber‐regulatory‐
                                                                                                               documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/RASIER%20Financial%20Terms%20Addendum%20June
                                                                                                               %2017%202017.pdf
Michael              Faith               7/3/2017 21:27 NY ‐ Consent to electronic delivery of group insurance https://uber‐regulatory‐documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/NY%20‐
                                                        policy documents                                       %20Consent%20to%20electronic%20delivery%20of%20group%20insurance%20policy%20documents%20v2.pdf
Michael              Faith               7/3/2017 21:27 NY Addendum June 29 2017                               https://uber‐regulatory‐
                                                                                                               documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/NY%20Addendum%20June%2029%202017%20v5.pdf

Michael              Faith              7/17/2017 21:23 RASIER Tipping Addendum June 20 2017                https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/country/United%20States/p2p/RASIER%20Tipping%20Addendum%20June%2020%2020
                                                                                                            17%20p2p%20driver.pdf
Michael              Faith              7/17/2017 21:23 NY Addendum July 12 2017                            https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/NY%20Addendum%20July%2012%202017%20v1.pdf

Michael              Faith               9/8/2017 20:00 NFB 2 Indicator (p2p)                               https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/country/United%20States/p2p/NFB%202%20Indicator%20%28p2p%29.html
Michael              Faith                1/8/2018 3:33 PORTIER Services Agreement August 31 2016           https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/country/United%20States/p2p/PORTIER%20P2P%20Flow%20Services%20Agreement%
                                                                                                            20August%2031%202016.pdf
Michael              Faith                1/8/2018 3:33 PORTIER Tipping Addendum June 20 2017               https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/country/United%20States/p2p/PORTIER%20Tipping%20Addendum%20June%2020%20
                                                                                                            2017%20p2p%20eats%20xd.pdf
Michael              Faith               4/14/2018 4:30 NY Addendum April 13, 2018                          https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/NY%20Addendum%20April%2013%2C%202018.pdf

Michael              Faith              4/16/2018 13:22 NY Addendum April 15, 2018                          https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/NY%20Addendum%20April%2015%2C%202018.pdf

Michael              Faith               6/24/2018 7:16 Rasier, LLC ‐ Instant Pay Terms                     https://uber‐regulatory‐documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Rasier%2C%20LLC%20‐
                                                                                                            %20Instant%20Pay%20Terms%20.pdf
Michael              Faith               3/1/2019 18:17 New York Addendum March 1, 2019                     https://uber‐regulatory‐
                                                                                                            documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/New%20York%20Addendum%20March%201%2C%2020
                                                                                                            19.pdf
Michael              Faith              3/20/2019 22:51 Portier, LLC ‐ Addendum to Technology Services      https://uber‐regulatory‐documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Portier%2C%20LLC%20‐
                                                        Agreement March 18, 2019                            %20Addendum%20to%20Technology%20Services%20Agreement%20March%2018%2C%202019.pdf
Michael              Faith              11/25/2019 9:35 Rasier Technology Services Agreement November 25,   https://uber‐regulatory‐
                                                        2019                                                documents.s3.amazonaws.com/reddog/territory/NYC%20Suburbs/p2p/Rasier%20Technology%20Services%20Agreement%20N
                                                                                                            ovember%2025%2C%202019.pdf
                                                              Case 2:21-cv-06913-JMA-JMW Document 35-3 Filed 09/14/22 Page 85 of 90 PageID #: 350


 Driver First Name    Driver Last    Date Accepted                          Reg Doc Title                                                                Reg Doc URL
                         Name       Agreements (UTC)
Michael              Faith               1/7/2020 19:58 Uber Platform Access Agreement January 6, 2020   https://uber‐regulatory‐
                                                                                                         documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Uber%20Platform%20Access%20Agreement%20January
                                                                                                         %206%2C%202020.pdf
Michael              Faith               1/7/2020 19:58 Uber Indemnity Agreement January 6, 2020         https://uber‐regulatory‐
                                                                                                         documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Uber%20Indemnity%20Agreement%20January%206%2
                                                                                                         C%202020.pdf
Michael              Faith                1/9/2020 9:58 Uber Fare Addendum January 6, 2020               https://uber‐regulatory‐
                                                                                                         documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Uber%20Fare%20Addendum%20January%206%2C%202
                                                                                                         020.pdf
Michael              Faith              5/11/2020 19:49 Uber Platform Access Agreement March 27, 2020    https://uber‐regulatory‐
                                                                                                         documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Uber%20Platform%20Access%20Agreement%20March
                                                                                                         %2027%2C%202020.pdf
Michael              Faith              5/11/2020 19:49 Uber Fare Addendum March 30, 2020                https://uber‐regulatory‐documents.s3.amazonaws.com/reddog/country/United%20States/p2p/P2P%20XD%20Eats%20‐
                                                                                                         %20Uber%20Fare%20Addendum%20March%2030%2C%202020.pdf
Michael              Faith              5/11/2020 19:49 Uber Indemnity Agreement March 30, 2020          https://uber‐regulatory‐
                                                                                                         documents.s3.amazonaws.com/reddog/country/United%20States/p2p/Uber%20Indemnity%20Agreement%20March%2030%2
                                                                                                         C%202020.pdf
 Case 2:21-cv-06913-JMA-JMW Document 35-3 Filed 09/14/22 Page 86 of 90 PageID #: 351




Exhibit G: Michael Faith January 7,
         2020 Trip History
                                       Case 2:21-cv-06913-JMA-JMW Document 35-3 Filed 09/14/22 Page 87 of 90 PageID #: 352


 business_line    city_name     request_at      begin_trip_at     dropoff_at        status      gross_driver   gross_original currency   driver_rating   feedback     all tags
                                                                                               adjusted_fare    driver_fare      code    rides_5_star
Rides            NYC Suburbs   1/7/2020 18:52    1/7/2020 18:56   1/7/2020 19:03   completed              7.89            7.89 USD            \N
Rides            NYC Suburbs   1/7/2020 18:27    1/7/2020 18:37   1/7/2020 18:43   completed              7.75            7.75 USD            \N
Rides            NYC Suburbs   1/7/2020 17:17    1/7/2020 17:19   1/7/2020 17:46   completed            18.48           18.48 USD              5
Rides            NYC Suburbs   1/7/2020 16:53    1/7/2020 16:59   1/7/2020 17:04   completed              7.75            7.75 USD            \N
                                                                                   completed                                                   5                       great
Rides            NYC Suburbs   1/7/2020 15:56    1/7/2020 16:05   1/7/2020 16:29                       16.18           16.18 USD                                    conversation
Rides            NYC Suburbs   1/7/2020 15:25    1/7/2020 15:31   1/7/2020 15:52   completed            13.6            13.6 USD              \N
Rides            NYC Suburbs   1/7/2020 15:20    1/7/2020 15:23   1/7/2020 15:29   completed            7.76            7.76 USD              \N
Case 2:21-cv-06913-JMA-JMW Document 35-3 Filed 09/14/22 Page 88 of 90 PageID #: 353




    Exhibit H: Michael Faith 2019
           Opt-Out Notice
      Case 2:21-cv-06913-JMA-JMW Document 35-3 Filed 09/14/22 Page 89 of 90 PageID #: 354




    ---------- Forwarded message ---------
    From: Mike Faith <mrmbutler2015@gmail.com>
    Date: Wednesday, December 18, 2019 at 8:10:21 AM UTC-8
    Subject: Opt-Out of Arbitration
    To: optout@uber.com <optout@uber.com>
    Cc: Mike Faith <mrmbutler2015@gmail.com>, mikefaith4ever@gmail.com <mikefaith4ever@gmail.com>


    December 18, 2019;

    Subject: Opt-Out of Arbitration

    I hereby OPT-OUT of the arbitration agreement to the fullest possible extent, and to the fullest
    possible extent no matter where I reside, to the fullest possible extent no matter any associated
    email account present or future, and to the fullest possible extent no matter any associated phone
    number in present or future. My name is Michael Faith, the phone number associated with my
    account is (631) 456-7958, and I currently reside in the City of Cambria Heights, located in the
    State of New York.

    Michael Faith




    ---------- Forwarded message ---------
    From: Mike Faith <mrmbutler2015@gmail.com>
    Date: Wednesday, December 18, 2019 at 7:52:44 AM UTC-8
    Subject: Opt-Out of Arbitration
    To: optout@uber.com <optout@uber.com>
    Cc: Mike Faith <mrmbutler2015@gmail.com>


    December 18, 2019;

https://mail.google.com/mail/u/0/?ik=aa47ddd8d3&view=pt&search=all&permthid=thread-f%3A1719702243748797699&dsqt=1&simpl=msg-f%3A1719702243748… 1/2
       Case
12/20/21,       2:21-cv-06913-JMA-JMW
          1:38 PM                                   Document Uber
                                                             35-3 Mail Filed   09/14/22
                                                                       - Fwd: Opt-Out            Page 90 of 90 PageID #: 355
                                                                                      of Arbitration

    Subject: Opt-Out of Arbitration

    I hereby opt-out of the arbitration agreement to the fullest possible extent, and to the fullest
    possible extent no matter where I reside. My name is Michael Faith, the phone number associated
    with my account is (631) 456-7958, and I currently reside in the City of Cambria Heights, located in
    the State of New York.

    Michael Faith




    ---------- Forwarded message ---------
    From: Mike Faith <mrmbutler2015@gmail.com>
    Date: Wednesday, December 18, 2019 at 7:52:44 AM UTC-8
    Subject: Opt-Out of Arbitration
    To: optout@uber.com <optout@uber.com>
    Cc: Mike Faith <mrmbutler2015@gmail.com>


    December 18, 2019;

    Subject: Opt-Out of Arbitration

    I hereby opt-out of the arbitration agreement to the fullest possible extent, and to the fullest
    possible extent no matter where I reside. My name is Michael Faith, the phone number associated
    with my account is (631) 456-7958, and I currently reside in the City of Cambria Heights, located in
    the State of New York.

    Michael Faith




https://mail.google.com/mail/u/0/?ik=aa47ddd8d3&view=pt&search=all&permthid=thread-f%3A1719702243748797699&dsqt=1&simpl=msg-f%3A1719702243748… 2/2
